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        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="94d287bcc0"&gt;2024 CO 55&lt;/p&gt;&lt;p data-paragraph-id="934278eb0d"&gt;&lt;span data-sentence-id="43b994950a" quote="false" data-paragraph-id="934278eb0d"&gt; Reginald Keith Clark, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="63964ce566" quote="false" data-paragraph-id="934278eb0d"&gt; &lt;br /&gt; The People of the State of Colorado.&lt;/span&gt; Respondent &lt;/p&gt;&lt;p data-paragraph-id="558ac43889"&gt;No. 22SC313&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="ca853be1b1"&gt;July 1, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="7736cf37e7"&gt;&lt;span data-sentence-id="ad0feb65ea" quote="false" data-paragraph-id="7736cf37e7"&gt; Certiorari to the Colorado Court of Appeals Court of Appeals Case No. 19CA340 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="Attorney" data-paragraph-id="4a5e1ceb34"&gt;&lt;span data-sentence-id="04bdd8a63c" quote="false" data-paragraph-id="4a5e1ceb34"&gt; Attorneys for Petitioner: Megan A. Ring, Public Defender Casey Mark Klekas, Deputy Public Defender &lt;/span&gt;&lt;/p&gt;
 &lt;p id="Attorney" data-paragraph-id="cd96cf348b"&gt;&lt;span data-sentence-id="b832586fd9" quote="false" data-paragraph-id="cd96cf348b"&gt; Attorneys for Respondent: Philip J. Weiser, Attorney General Patrick A. Withers, Senior Assistant Attorney General &lt;/span&gt;&lt;/p&gt;
 &lt;p id="Attorney" data-paragraph-id="a542e240a3"&gt;&lt;span data-sentence-id="0e958494d8" quote="false" data-paragraph-id="a542e240a3"&gt; Attorneys for Amici Curiae Colorado Hispanic Bar Association, Asian Pacific American Bar Association, South Asian Bar Association of Colorado, and Sam Cary Bar Association: Lewis Roca Rothgerber Christie LLP Kendra N. Beckwith Tyler J. Owen &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;2&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p id="Attorney" data-paragraph-id="e070fb8964"&gt;&lt;span data-sentence-id="0e6fcd7f41" quote="false" data-paragraph-id="e070fb8964"&gt; Attorneys for Amici Curiae Colorado-Montana-Wyoming Area Conference of the National Association for the Advancement of Colored People and American Civil Liberties Union of Colorado: Martina Tiku Anna Kathryn Barnes &lt;/span&gt;&lt;/p&gt;
 &lt;p id="Attorney" data-paragraph-id="6bda153714"&gt;&lt;span data-sentence-id="98e3e0ea75" quote="false" data-paragraph-id="6bda153714"&gt; Timothy R. Macdonald Anna I. Kurtz &lt;/span&gt;&lt;/p&gt;
 &lt;p id="Attorney" data-paragraph-id="3c6e7dadef"&gt;&lt;span data-sentence-id="bbbb7fa78b" quote="false" data-paragraph-id="3c6e7dadef"&gt; Attorneys for Amicus Curiae Mountain States Legal Foundation: William E. Trachman James L. Kerwin &lt;/span&gt;&lt;/p&gt;
 &lt;p id="Attorney" data-paragraph-id="b8fa229c99"&gt;&lt;span data-sentence-id="ee305d6583" quote="false" data-paragraph-id="b8fa229c99"&gt; Attorneys for Amici Curiae Office of the Alternate Defense Counsel and Colorado Criminal Defense Bar: Law Offices of Ann M. Roan, LLC Ann M. Roan &lt;/span&gt;&lt;/p&gt;
 &lt;p id="Judge" data-paragraph-id="bf1b32f21a"&gt;&lt;span data-sentence-id="e666bfc3eb" quote="false" data-paragraph-id="bf1b32f21a"&gt; JUSTICE MÁRQUEZ delivered the Opinion of the Court, in which CHIEF JUSTICE BOATRIGHT, JUSTICE HART, JUSTICE SAMOUR, and JUSTICE BERKENKOTTER joined.&lt;/span&gt;&lt;span data-sentence-id="81a6d8afe8" quote="false" data-paragraph-id="bf1b32f21a"&gt; JUSTICE HOOD, joined by JUSTICE GABRIEL, dissented.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;3&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="3b9a4cc862"&gt; &lt;strong&gt;OPINION&lt;/strong&gt; &lt;/p&gt;
 &lt;p id="MajorityJudge" data-paragraph-id="4194f45a47"&gt;&lt;span data-sentence-id="453a28273a" quote="false" data-paragraph-id="4194f45a47"&gt; MÁRQUEZ, JUSTICE &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="7f66bc4810"&gt;&lt;span data-sentence-id="8a35e98157" quote="false" data-paragraph-id="7f66bc4810"&gt; ¶1 Racial discrimination, while detestable in any context, is "especially pernicious" in the criminal justice system.&lt;/span&gt;&lt;span data-sentence-id="da9bd38218" quote="false" data-paragraph-id="7f66bc4810"&gt; &lt;em&gt;Rose v. Mitchell&lt;/em&gt;, &lt;a href="/vid/892820801" data-vids="892820801"&gt;443 U.S. 545&lt;/a&gt;, 555 (1979). "&lt;/span&gt;&lt;span data-sentence-id="0350e589ec" quote="false" data-paragraph-id="7f66bc4810"&gt;[S]uch discrimination 'not only violates our Constitution and the laws enacted under it but is at war with our basic concepts of a democratic society and a representative government.'"&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="9a46102795" quote="false" data-paragraph-id="7f66bc4810"&gt;&lt;/span&gt;&lt;/em&gt; at 556 (quoting &lt;em&gt;Smith v. Texas&lt;/em&gt;, &lt;a href="/vid/888964154" data-vids="888964154"&gt;311 U.S. 128&lt;/a&gt;, 130 (1940)).&lt;span data-sentence-id="0bdade1d59" quote="false" data-paragraph-id="7f66bc4810"&gt; Criminal defendants have the right to an impartial jury, U.S. Const.&lt;/span&gt; amend. VI; Colo. Const. art.&lt;span data-sentence-id="3a7b14fc79" quote="false" data-paragraph-id="7f66bc4810"&gt; II, § 16, which includes the right to be tried by jurors who can consider the case without the influence of racial animus, &lt;em&gt;Georgia v. McCollum&lt;/em&gt;, &lt;a href="/vid/885010648" data-vids="885010648"&gt;505 U.S. 42&lt;/a&gt;, 58 (1992).&lt;/span&gt;&lt;span data-sentence-id="80a308c57b" quote="false" data-paragraph-id="7f66bc4810"&gt; The jury, after all, is meant to be "a criminal defendant's fundamental 'protection of life and liberty against rac[ial] . . . prejudice.'"&lt;/span&gt;&lt;span data-sentence-id="77ae09a186" quote="false" data-paragraph-id="7f66bc4810"&gt; &lt;em&gt;Pena-Rodriguez v. Colorado&lt;/em&gt;, 580 U.S. 206, 223 (2017) (quoting &lt;em&gt;McCleskey v. Kemp&lt;/em&gt;, &lt;a href="/vid/888433156" data-vids="888433156"&gt;481 U.S. 279&lt;/a&gt;, 310 (1987)).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="16ede74099"&gt;&lt;span data-sentence-id="e0b68d8d1f" quote="false" data-paragraph-id="16ede74099"&gt; ¶2 Procedures for preventing biased jurors from serving are critical to the protection of the defendant's right to an impartial jury.&lt;/span&gt;&lt;span data-sentence-id="e4e4a38b43" quote="false" data-paragraph-id="16ede74099"&gt; &lt;em&gt;McCollum&lt;/em&gt;, 505 U.S. at 58.&lt;/span&gt;&lt;span data-sentence-id="31dc25e108" quote="false" data-paragraph-id="16ede74099"&gt; In Colorado, judges must dismiss for cause jurors who "evinc[e] enmity or bias toward the defendant or the state."&lt;/span&gt;&lt;span data-sentence-id="c010fd0775" quote="false" data-paragraph-id="16ede74099"&gt; § 16-10-103(1)(j), C.R.S. (2023).&lt;/span&gt;&lt;span data-sentence-id="99a35e417c" quote="false" data-paragraph-id="16ede74099"&gt; Where a trial court's erroneous denial of a challenge for cause results in seating a juror who is biased against the defendant, the defendant's Sixth Amendment right to an &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;4&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="8f91ab74b2"&gt;&lt;span data-sentence-id="d07c38cbcd" quote="false" data-paragraph-id="8f91ab74b2"&gt; impartial jury is violated, and the conviction must be reversed.&lt;/span&gt;&lt;span data-sentence-id="2cf13452f3" quote="false" data-paragraph-id="8f91ab74b2"&gt; &lt;em&gt;People v. Abu-Nantambu-El&lt;/em&gt;, 2019 CO 106, ¶ 29, &lt;a href="/vid/895611955" data-vids="895611955"&gt;454 P.3d 1044&lt;/a&gt;, 1050.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="90c837f818"&gt;&lt;span data-sentence-id="b540e00718" quote="false" data-paragraph-id="90c837f818"&gt; ¶3 If, however, a juror evinces racial bias during voir dire but does not ultimately serve on the jury, no Sixth Amendment violation has occurred.&lt;/span&gt;&lt;span data-sentence-id="331d86b844" quote="false" data-paragraph-id="90c837f818"&gt; These are the circumstances we are presented with today.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="ab09e77e68"&gt;&lt;span data-sentence-id="3addc28197" quote="false" data-paragraph-id="ab09e77e68"&gt; ¶4 Reginald Keith Clark, a Black man, was charged with multiple crimes arising from his alleged sexual assault of A.B., a white woman.&lt;/span&gt;&lt;span data-sentence-id="1c04be5a01" quote="false" data-paragraph-id="ab09e77e68"&gt; He faced trial in Gilpin County, an area that is predominantly white.&lt;/span&gt;&lt;span data-sentence-id="ec60e69da3" quote="false" data-paragraph-id="ab09e77e68"&gt;&lt;sup&gt;[&lt;a href="#ftn.FN1" name="FN1" id="FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt; During voir dire, a venire member made comments that Clark believed evinced racial bias.&lt;/span&gt;&lt;span data-sentence-id="56f6813939" quote="false" data-paragraph-id="ab09e77e68"&gt; Clark moved to strike the juror for cause, but the trial court denied the challenge, concluding that the juror's statements expressed a political view and did not indicate that he could not be fair.&lt;/span&gt;&lt;span data-sentence-id="849349ea81" quote="false" data-paragraph-id="ab09e77e68"&gt; Clark later removed the juror using a peremptory challenge.&lt;/span&gt;&lt;span data-sentence-id="e28990ef16" quote="false" data-paragraph-id="ab09e77e68"&gt; Thus, the juror did not sit on the jury.&lt;/span&gt;&lt;span data-sentence-id="8ab6076e22" quote="false" data-paragraph-id="ab09e77e68"&gt; Clark was convicted and appealed on multiple grounds.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="9e5a3c9128"&gt;&lt;span data-sentence-id="9502b7bb97" quote="false" data-paragraph-id="9e5a3c9128"&gt; ¶5 In a divided opinion, the court of appeals affirmed Clark's conviction.&lt;/span&gt;&lt;span data-sentence-id="5171e550d7" quote="false" data-paragraph-id="9e5a3c9128"&gt; &lt;em&gt;People v. Clark&lt;/em&gt;, &lt;a href="/vid/913395963" data-vids="913395963"&gt;2022 COA 33&lt;/a&gt;, ¶ 1, &lt;a href="/vid/913395963" data-vids="913395963"&gt;512 P.3d 1074&lt;/a&gt;, 1076.&lt;/span&gt;&lt;span data-sentence-id="e84df047b9" quote="false" data-paragraph-id="9e5a3c9128"&gt; In its discussion of the trial &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;5&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="3e2645a01c"&gt;&lt;span data-sentence-id="80a23ca1b9" quote="false" data-paragraph-id="3e2645a01c"&gt; court's ruling on the challenge for cause, the division's lead opinion focused its analysis on the Sixth Amendment.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="25410d3537" quote="false" data-paragraph-id="3e2645a01c"&gt;&lt;/span&gt;&lt;/em&gt; at ¶¶ 22-32, 512 P.3d at 1079-80.&lt;span data-sentence-id="3349946a56" quote="false" data-paragraph-id="3e2645a01c"&gt; Judge Schutz's partial dissent included a discussion of the Equal Protection Clause, particularly within the context of Batson v Kentucky, &lt;a href="/vid/885224377" data-vids="885224377"&gt;476 U.S. 79&lt;/a&gt; (1986), and its progeny Clark, ¶¶ 89-102, 512 P.3d at 1089-92 (Schutz, J, concurring in part and dissenting in part).&lt;/span&gt;&lt;span data-sentence-id="68299c3b14" quote="false" data-paragraph-id="3e2645a01c"&gt; We granted Clark's petition for certiorari review of two issues.&lt;/span&gt;&lt;sup&gt;[&lt;a href="#ftn.FN2" name="FN2" id="FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="e0d4929837"&gt;&lt;span data-sentence-id="024612c715" quote="false" data-paragraph-id="e0d4929837"&gt; ¶6 First, we consider whether the trial court's denial of Clark's for-cause challenge may be analyzed for harmlessness or instead constitutes structural error requiring reversal.&lt;/span&gt;&lt;span data-sentence-id="48de4ce1b5" quote="false" data-paragraph-id="e0d4929837"&gt; In light of Supreme Court and Colorado precedent, we conclude that, because any error by the trial court was made in good faith and because the juror never actually sat on the jury, Clark's Sixth Amendment right to an impartial jury was not violated.&lt;/span&gt;&lt;span data-sentence-id="0c0e4b3d55" quote="false" data-paragraph-id="e0d4929837"&gt; Accordingly, the trial court's erroneous denial of the challenge for cause in this case did not result in structural error and automatic reversal is not required.&lt;/span&gt;&lt;span data-sentence-id="10894f1a5a" quote="false" data-paragraph-id="e0d4929837"&gt; And because no state actor purposefully &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;6&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="02f50834aa"&gt;&lt;span data-sentence-id="2d98986e84" quote="false" data-paragraph-id="02f50834aa"&gt; discriminated against Clark (or anyone else) on the basis of race, no equal protection violation occurred either.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="7cc5d346ee"&gt;&lt;span data-sentence-id="2517b7bcac" quote="false" data-paragraph-id="7cc5d346ee"&gt; ¶7 Second, we separately conclude that a juror's comment about her previous jury experience recalling a judge's alleged statement that the jury must deliberate until it reached a unanimous verdict does not constitute "extraneous prejudicial information" under CRE 606(b).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="6b53305643"&gt;&lt;span data-sentence-id="74f0035222" quote="false" data-paragraph-id="6b53305643"&gt; ¶8 Accordingly, we affirm the judgment of the court of appeals and uphold Clark's conviction.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="2145c11576"&gt;&lt;span data-sentence-id="637efaf2a2" quote="false" data-paragraph-id="2145c11576"&gt; &lt;strong&gt;I. Facts and Procedural History&lt;/strong&gt; &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="f1802511a7"&gt;&lt;span data-sentence-id="ac83b7cf51" quote="false" data-paragraph-id="f1802511a7"&gt; ¶9 In November 2017, Clark approached A.B. in his car as she was walking through downtown Denver to catch a bus.&lt;/span&gt;&lt;span data-sentence-id="504e05f6a8" quote="false" data-paragraph-id="f1802511a7"&gt; Clark offered A.B. a ride.&lt;/span&gt;&lt;span data-sentence-id="681033f7dd" quote="false" data-paragraph-id="f1802511a7"&gt; A.B., who recognized Clark, accepted.&lt;/span&gt;&lt;span data-sentence-id="10d5880570" quote="false" data-paragraph-id="f1802511a7"&gt; A.B. asked Clark to take her to a nearby location, but Clark instead drove into the mountains near Black Hawk.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="161d101d85"&gt;&lt;span data-sentence-id="6747d3d259" quote="false" data-paragraph-id="161d101d85"&gt; ¶10 During the drive, Clark stopped and sexually assaulted A.B. Shortly after this, A.B. ran away.&lt;/span&gt;&lt;span data-sentence-id="78584f25b8" quote="false" data-paragraph-id="161d101d85"&gt; Police officers later contacted her on the side of the road.&lt;/span&gt;&lt;span data-sentence-id="3d8ac58162" quote="false" data-paragraph-id="161d101d85"&gt; A.B. told them about the assault and described her assailant.&lt;/span&gt;&lt;span data-sentence-id="f1d807c7e1" quote="false" data-paragraph-id="161d101d85"&gt; Soon after, the officers spotted Clark driving in the vicinity and arrested him.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="c9d1c5a2da"&gt;&lt;span data-sentence-id="dd14a841c3" quote="false" data-paragraph-id="c9d1c5a2da"&gt; ¶11 Clark was charged in Gilpin County with second degree kidnapping, § 18-3-302(1), (3), C.R.S. (2023); sexual assault with a deadly weapon, § 18-3-402(1)(a), (5)(a)(III), C.R.S. (2023); sexual assault caused by threat of &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;7&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="69793ef897"&gt;&lt;span data-sentence-id="4ef47d9630" quote="false" data-paragraph-id="69793ef897"&gt; imminent harm, § 18-3-402(1)(a), (4)(b); and sexual assault achieved through the application of physical force, § 18-3-402(1)(a), (4)(a).&lt;/span&gt;&lt;span data-sentence-id="aa75039720" quote="false" data-paragraph-id="69793ef897"&gt; The case proceeded to a jury trial.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="79c7fd673b"&gt; &lt;strong&gt;A. Voir Dire&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="b0c8088386"&gt;&lt;span data-sentence-id="c950f1797e" quote="false" data-paragraph-id="b0c8088386"&gt; ¶12 During voir dire, defense counsel raised the issue of race, noting that Clark was the only Black individual in the courtroom.&lt;/span&gt;&lt;span data-sentence-id="ac70af71c8" quote="false" data-paragraph-id="b0c8088386"&gt; One potential juror commented that if she were in Clark's position, she might doubt the fairness of the trial and "would like to see a little more diversity" in the courtroom.&lt;/span&gt;&lt;span data-sentence-id="579005fcd4" quote="false" data-paragraph-id="b0c8088386"&gt; Other potential jurors agreed that some people in Gilpin County might have stereotypes about Black men.&lt;/span&gt;&lt;span data-sentence-id="c7ac8f3c53" quote="false" data-paragraph-id="b0c8088386"&gt; Soon after, the conversation moved away from the topic of diversity.&lt;/span&gt;&lt;span data-sentence-id="ca3215cc72" quote="false" data-paragraph-id="b0c8088386"&gt; A few minutes later, defense counsel asked Juror K about his thoughts related to the presumption of innocence, inquiring whether he thought the prosecution "start[ed] off . . . with a little bit of a lead," given that Clark was charged with a crime.&lt;/span&gt;&lt;span data-sentence-id="d684eb8161" quote="false" data-paragraph-id="b0c8088386"&gt; Juror K responded by returning to the topic of diversity, saying: &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 You've said a lot, and I'm trying to think through
 each thing.... I apologize for some of my thoughts.... The
 diversity and stuff, yes, it's obvious there's a
 [B]lack gentleman over there. This is Gilpin County. I moved
 to Gilpin County. I didn't want diversity. I want to be
 diverse up on top of a hill. That's—I hear the
 things, that diversity makes us stronger and things like
 that. I don't quite believe it in life from what my
 personal experiences are. And I can't change that. I can
 look and judge what is being said by your side and their side
 and be fair, but I can't change that—when I walked
 in here seeing a [B]lack gentleman here. And I can't say
 that the prosecutor has a leg up on this or something until I
 hear what's happened.
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;8&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="19cad2a11e"&gt;&lt;span data-sentence-id="cf91f5a6eb" quote="false" data-paragraph-id="19cad2a11e"&gt; ¶13 At a bench conference, Clark challenged Juror K for cause.&lt;/span&gt;&lt;span data-sentence-id="09054243ad" quote="false" data-paragraph-id="19cad2a11e"&gt; As Clark later explained,&lt;sup&gt;[&lt;a href="#ftn.FN3" name="FN3" id="FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt; his basis for the challenge was that Juror K's statements about diversity were unprompted and reflected "actual bias and prejudice."&lt;/span&gt;&lt;span data-sentence-id="853476b9d7" quote="false" data-paragraph-id="19cad2a11e"&gt; Following this challenge, the court asked Juror K additional questions: &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 Court: So here's kind of the two-part bottom line .... If
 you're chosen as a juror in this case, and if you're
 back in the jury room and you think the prosecution
 hasn't proven its case, would you have any trouble
 finding this defendant to be not guilty?
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 Juror K: Not at all.
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 Court: And the other side of that coin, what if you're
 back there and you say that [the] prosecutor has proven his
 case, would you have any trouble finding the defendant to be
 guilty?
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 Juror K: Again, the same answer. Not at all.
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="b39d384a88"&gt;&lt;span data-sentence-id="92b3662a29" quote="false" data-paragraph-id="b39d384a88"&gt; ¶14 The court denied the challenge, and later provided its reasoning that Juror K's statements "that he didn't think that diversity was a good thing" expressed "a political view" and did not "answer the question of whether he can be a fair juror."&lt;/span&gt;&lt;span data-sentence-id="ca86b6a540" quote="false" data-paragraph-id="b39d384a88"&gt; The judge observed that "a person can certainly have offensive views and still apply the law.&lt;/span&gt;&lt;span data-sentence-id="bbc15208f6" quote="false" data-paragraph-id="b39d384a88"&gt; Those two things are really separate in my mind."&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;9&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="8c9200193c"&gt;&lt;span data-sentence-id="5a158f14d5" quote="false" data-paragraph-id="8c9200193c"&gt; ¶15 After his challenge for cause was denied, Clark exercised all of his allotted peremptory strikes, using his first to remove Juror K. Juror K was excused and did not sit on the jury.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d19c14865f"&gt;&lt;span data-sentence-id="2555bc3873" quote="false" data-paragraph-id="d19c14865f"&gt; &lt;strong&gt;B. Statements Made During Jury Deliberations&lt;/strong&gt; &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="56e9b6c7fd"&gt;&lt;span data-sentence-id="a913d082ee" quote="false" data-paragraph-id="56e9b6c7fd"&gt; ¶16 After deliberating for approximately seventeen hours over three days, the jury convicted Clark of second degree kidnapping and sexual assault caused by threat of imminent harm.&lt;/span&gt;&lt;span data-sentence-id="42f6fdd20e" quote="false" data-paragraph-id="56e9b6c7fd"&gt; The court sentenced Clark to eighteen years for the kidnapping conviction and a consecutive term of twelve years to life for the sexual assault.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="0c0d98a2c3"&gt;&lt;span data-sentence-id="b357b02897" quote="false" data-paragraph-id="0c0d98a2c3"&gt; ¶17 Following the verdict, Clark filed a motion for a new trial based on an affidavit from Juror LL.&lt;/span&gt;&lt;span data-sentence-id="522d4f9750" quote="false" data-paragraph-id="0c0d98a2c3"&gt; The affidavit explained that the jury was deadlocked for the first two days of deliberations.&lt;/span&gt;&lt;span data-sentence-id="9f44e59346" quote="false" data-paragraph-id="0c0d98a2c3"&gt; Juror LL alleged that on the third day of deliberations, another juror &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 mentioned a previous jury they [sic] she served on, in which
 the jury was told by the judge "I don't want a hung
 jury, and I want you guys to stay as long as you need to
 become unanimous." That juror stated that she was told
 in the previous trial by the judge that the jury must
 deliberate until a unanimous verdict was reached.... The
 original juror who referenced her previous jury service,
 presented that information as the factual information about
 the law that the jury was required to reach a unanimous
 verdict.
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="dce876c015"&gt;&lt;span data-sentence-id="f57a701e79" quote="false" data-paragraph-id="dce876c015"&gt; ¶18 Juror LL further alleged that the other juror's statement sparked fears among the other jurors about the impact that protracted deliberations would have &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;10&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="fa9b04bc41"&gt;&lt;span data-sentence-id="5c4c532109" quote="false" data-paragraph-id="fa9b04bc41"&gt; on their personal and professional lives, and, as a result, many jurors—including her—voted guilty to avoid those ramifications.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="7a9dbf168a"&gt;&lt;span data-sentence-id="bc929ac56d" quote="false" data-paragraph-id="7a9dbf168a"&gt; ¶19 Based on this information, Clark requested a new trial or, alternatively, an evidentiary hearing.&lt;/span&gt;&lt;span data-sentence-id="2d724f4325" quote="false" data-paragraph-id="7a9dbf168a"&gt; As relevant here, Clark argued that Juror LL's affidavit was admissible under the extraneous prejudicial information exception to CRE 606(b).&lt;/span&gt;&lt;span data-sentence-id="734471c9ff" quote="false" data-paragraph-id="7a9dbf168a"&gt; The court disagreed, concluding that the affidavit did not allege the introduction of "extraneous prejudicial information" for purposes of meeting the exception to CRE 606(b), which otherwise prohibits a juror from testifying as to any statements made during jury deliberations.&lt;/span&gt;&lt;span data-sentence-id="caff7e6b80" quote="false" data-paragraph-id="7a9dbf168a"&gt; Consequently, the court concluded it could not consider the statements in the juror's affidavit.&lt;/span&gt;&lt;span data-sentence-id="a7d8698a2c" quote="false" data-paragraph-id="7a9dbf168a"&gt; It therefore denied Clark's motion.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="48cf80a77c"&gt; &lt;strong&gt;C.&lt;span data-sentence-id="207c7ebfaf" quote="false" data-paragraph-id="48cf80a77c"&gt; The Court of Appeals' Decision&lt;/span&gt;&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="26b3888a89"&gt;&lt;span data-sentence-id="ba00a8f3e5" quote="false" data-paragraph-id="26b3888a89"&gt; ¶20 Clark appealed his conviction, and in a divided opinion, the court of appeals affirmed.&lt;/span&gt;&lt;span data-sentence-id="d90f770625" quote="false" data-paragraph-id="26b3888a89"&gt; &lt;em&gt;Clark&lt;/em&gt;, ¶ 1, 512 P.3d at 1076.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="845f119bee"&gt;&lt;span data-sentence-id="a3e2772a38" quote="false" data-paragraph-id="845f119bee"&gt; ¶21 With respect to the challenge for cause, the division split three ways.&lt;/span&gt;&lt;span data-sentence-id="07b05d6966" quote="false" data-paragraph-id="845f119bee"&gt; Judges Fox and Schutz agreed with Clark that the trial court erred when it denied Clark's challenge for cause of Juror K. &lt;em&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;span data-sentence-id="8ed78c39c2" quote="false" data-paragraph-id="845f119bee"&gt; at ¶ 21, 512 P.3d at 1079; &lt;em&gt;id.&lt;/em&gt;&lt;/span&gt;&lt;span data-sentence-id="f0ec535185" quote="false" data-paragraph-id="845f119bee"&gt; at ¶ 78, 512 P.3d at 1086-87 (Schutz, J., concurring in part and dissenting in part).&lt;/span&gt;&lt;span data-sentence-id="5379a3b989" quote="false" data-paragraph-id="845f119bee"&gt; Judge Dailey would have given more deference to the trial court's ruling and thus disagreed that the trial court erred in this case.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="fb20f69770" quote="false" data-paragraph-id="845f119bee"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 62, 512 P.3d at 1084 (Dailey, J., concurring in the judgment). &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;11&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="1cb691bf0a"&gt;&lt;span data-sentence-id="af6a34f89e" quote="false" data-paragraph-id="1cb691bf0a"&gt; ¶22 Regarding the remedy, the lead opinion, authored by Judge Fox, concluded that, under this court's decision in &lt;em&gt;People v. Novotny&lt;/em&gt;, &lt;a href="/vid/888686298" data-vids="888686298"&gt;2014 CO 18&lt;/a&gt;, 320 P.3d 1194, the trial court's erroneous denial of Clark's for-cause challenge did not amount to structural error.&lt;/span&gt;&lt;span data-sentence-id="abfb048d3f" quote="false" data-paragraph-id="1cb691bf0a"&gt; &lt;em&gt;Clark&lt;/em&gt;, ¶ 26, 512 P.3d at 1079.&lt;/span&gt;&lt;span data-sentence-id="a3d53c0e3f" quote="false" data-paragraph-id="1cb691bf0a"&gt; Judge Fox disagreed with Clark's argument that the trial court's error fell within &lt;em&gt;Novotny&lt;/em&gt;'s exception for errors made in "other than good faith."&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="f234f62488" quote="false" data-paragraph-id="1cb691bf0a"&gt;&lt;/span&gt;&lt;/em&gt; at ¶¶ 27-28, 512 P.3d at 1080.&lt;span data-sentence-id="8b1f829a94" quote="false" data-paragraph-id="1cb691bf0a"&gt; Judge Fox also rejected Clark's argument that the trial court's error forced him to use a peremptory challenge to remove Juror K and thus deprived him of equal protection of the law.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="429d0e214c" quote="false" data-paragraph-id="1cb691bf0a"&gt;&lt;/span&gt;&lt;/em&gt; at ¶¶ 29-32, 512 P.3d at 1080.&lt;span data-sentence-id="d67ab7062a" quote="false" data-paragraph-id="1cb691bf0a"&gt; Judge Fox reasoned that this argument was foreclosed by this court's decision in &lt;em&gt;Vigil v. People&lt;/em&gt;, 2019 CO 105, &lt;a href="/vid/895629801" data-vids="895629801"&gt;455 P.3d 332&lt;/a&gt;.&lt;/span&gt;&lt;span data-sentence-id="f9f02cca4c" quote="false" data-paragraph-id="1cb691bf0a"&gt; &lt;em&gt;Clark&lt;/em&gt;, ¶ 31, 512 P.3d at 1080.&lt;/span&gt;&lt;span data-sentence-id="857977f2f7" quote="false" data-paragraph-id="1cb691bf0a"&gt; Accordingly, Judge Fox concluded that the trial court's error should be analyzed for harmlessness and, because Juror K did not actually participate in the jury, the error was necessarily harmless.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="d66440e863" quote="false" data-paragraph-id="1cb691bf0a"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 32, 512 P.3d at 1080.&lt;span data-sentence-id="750f51d4bb" quote="false" data-paragraph-id="1cb691bf0a"&gt; Judge Dailey concurred in the judgment.&lt;/span&gt;&lt;span data-sentence-id="f3d33aea64" quote="false" data-paragraph-id="1cb691bf0a"&gt; He agreed that under &lt;em&gt;Novotny&lt;/em&gt;, any error by the trial court in denying the for-cause challenge did not warrant a new trial.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="12a2cc27bf" quote="false" data-paragraph-id="1cb691bf0a"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 61, 512 P.3d at 1084 (Dailey, J., concurring in the judgment). &lt;/p&gt;
 &lt;p data-paragraph-id="03c06f7dcf"&gt;&lt;span data-sentence-id="60300f8dd5" quote="false" data-paragraph-id="03c06f7dcf"&gt; ¶23 In a partial dissent, Judge Schutz agreed with Clark that the error was structural and required automatic reversal.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="fef034da6f" quote="false" data-paragraph-id="03c06f7dcf"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 79, 512 P.3d at 1087 (Schutz, J., concurring in part and dissenting in part).&lt;span data-sentence-id="9111fe797e" quote="false" data-paragraph-id="03c06f7dcf"&gt; In his view, this case presented an &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;12&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="0e0cd3c51c"&gt;&lt;span data-sentence-id="e8af5fb9b4" quote="false" data-paragraph-id="0e0cd3c51c"&gt; exception to &lt;em&gt;Novotny's&lt;/em&gt; outcome-determinative analysis.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="dce1015a2b" quote="false" data-paragraph-id="0e0cd3c51c"&gt;&lt;/span&gt;&lt;/em&gt; at ¶¶ 85-86, 512 P.3d at 1088. &lt;/p&gt;
 &lt;p data-paragraph-id="165848b273"&gt;&lt;span data-sentence-id="4eb3cc22ed" quote="false" data-paragraph-id="165848b273"&gt; ¶24 According to Judge Schutz, the trial court's "tolerance" of Juror K's express racial bias amounted to structural error, not because it violated Clark's right to an impartial jury, but because it violated his right to equal protection.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="2de3bd7faa" quote="false" data-paragraph-id="165848b273"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 95, 512 P.3d at 1090.&lt;span data-sentence-id="09325da21c" quote="false" data-paragraph-id="165848b273"&gt; In reaching this conclusion, Judge Schutz drew comparisons to the Supreme Court's opinion in &lt;em&gt;Batson&lt;/em&gt;, a case addressing racial bias in the jury selection process through the discriminatory use of peremptory challenges: &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 While the structural error created by &lt;em&gt;Batson&lt;/em&gt;
 typically arises through the exercise of a peremptory
 challenge, the equal protection violation is even more
 pronounced in the context of a trial court's failure to
 grant a challenge for cause against a juror who has confirmed
 his racial bias against a defendant. In such situations,
 racial bias in the jury selection process need not be
 assumed, it has been openly acknowledged to the court, the
 parties, and the public. If the injection of assumed bias
 into the jury selection process through the exercise of a
 peremptory challenge creates structural error, then surely
 the trial court's tolerance of a prospective juror's
 express racial bias after that bias has been brought to the
 court's attention through a challenge for cause also
 constitutes structural error.
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="464e0bf48d"&gt; &lt;em&gt;Id.&lt;span data-sentence-id="2de3bd7faa" quote="false" data-paragraph-id="464e0bf48d"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 95, 512 P.3d at 1090. &lt;/p&gt;
 &lt;p data-paragraph-id="9dfbfbc8c6"&gt;&lt;span data-sentence-id="00d72b9ad7" quote="false" data-paragraph-id="9dfbfbc8c6"&gt; ¶25 Judge Schutz further reasoned that &lt;em&gt;Batson&lt;/em&gt; was designed to serve multiple ends, including circumstances like this where, as he saw it, the trial court's error sent a message that racial bias may be tolerated in the criminal justice system.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="53d19adbc3" quote="false" data-paragraph-id="9dfbfbc8c6"&gt;&lt;/span&gt;&lt;/em&gt; at ¶¶ 96, 98, 512 P.3d at 1090-91.&lt;span data-sentence-id="82cca84e4b" quote="false" data-paragraph-id="9dfbfbc8c6"&gt; Whereas Judge Fox's opinion evaluated the challenge-for-cause error through a Sixth Amendment lens, Judge Schutz viewed &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;13&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="7ca413a114"&gt;&lt;span data-sentence-id="38a8f85068" quote="false" data-paragraph-id="7ca413a114"&gt; the issue as implicating a defendant's Fourteenth Amendment right to equal protection because the juror's bias against the defendant was based on race.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="538c6c8b78" quote="false" data-paragraph-id="7ca413a114"&gt;&lt;/span&gt;&lt;/em&gt; at ¶¶ 100-02, 512 P.3d at 1091-92.&lt;span data-sentence-id="b2e234d0ec" quote="false" data-paragraph-id="7ca413a114"&gt; In other words, Judge Schutz equated &lt;em&gt;Batson's&lt;/em&gt; reference to "racial bias in the jury selection process" with a potential juror's expression of racial bias against the defendant during voir dire.&lt;/span&gt; &lt;em&gt;See id.&lt;span data-sentence-id="8c95b28e71" quote="false" data-paragraph-id="7ca413a114"&gt;&lt;/span&gt;&lt;/em&gt; at ¶¶ 95-102, 512 P.3d at 1090-92. &lt;/p&gt;
 &lt;p data-paragraph-id="034a4f1500"&gt;&lt;span data-sentence-id="305d544c17" quote="false" data-paragraph-id="034a4f1500"&gt; ¶26 As for Juror LL's affidavit, the majority decided that the trial court correctly determined that the statements it contained did not constitute extraneous prejudicial information and therefore did not meet the exception to CRE 606(b).&lt;/span&gt;&lt;sup&gt;[&lt;a href="#ftn.FN4" name="FN4" id="FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;em&gt;Id.&lt;span data-sentence-id="4fce0a637f" quote="false" data-paragraph-id="034a4f1500"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 59, 512 P.3d at 1084 (majority opinion).&lt;span data-sentence-id="c26aa9bf22" quote="false" data-paragraph-id="034a4f1500"&gt; Relying on &lt;em&gt;People v. Newman&lt;/em&gt;, 2020 COA 108, &lt;a href="/vid/886962296" data-vids="886962296"&gt;471 P.3d 1243&lt;/a&gt;, the division majority concluded that "extraneous prejudicial information" consists of (1) legal content and specific factual information (2) learned from outside the record (3) that is relevant to the issues in a case.&lt;/span&gt;&lt;span data-sentence-id="59dec0553c" quote="false" data-paragraph-id="034a4f1500"&gt; &lt;em&gt;Clark&lt;/em&gt;, ¶ 52, 512 P.3d at 1083.&lt;/span&gt;&lt;span data-sentence-id="e757f4688a" quote="false" data-paragraph-id="034a4f1500"&gt; The majority declined to construe the phrase "relevant to the issues in a case" so broadly as to include a general statement about how juries handle protracted deliberations.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="8f9cc508e3" quote="false" data-paragraph-id="034a4f1500"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 58, 512 P.3d at 1084. Such a &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;14&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="b084a421c9"&gt;&lt;span data-sentence-id="8e4462c46d" quote="false" data-paragraph-id="b084a421c9"&gt; broad construction, the majority reasoned, would be inconsistent with the purposes of CRE 606(b) and Colorado precedent.&lt;/span&gt; &lt;em&gt;Id.&lt;/em&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="66205c47bb"&gt;&lt;span data-sentence-id="b623f2b55a" quote="false" data-paragraph-id="66205c47bb"&gt; ¶27 We granted Clark's petition for certiorari review on these two issues and now address them in turn.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="1c6e61e952"&gt; &lt;strong&gt;II. Analysis&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="fc350ce69a"&gt;&lt;span data-sentence-id="7cfdeeb54e" quote="false" data-paragraph-id="fc350ce69a"&gt; ¶28 We first address Clark's argument that the trial court's denial of his for-cause challenge to Juror K amounted to structural error and required automatic reversal.&lt;/span&gt;&lt;span data-sentence-id="39a91f90e0" quote="false" data-paragraph-id="fc350ce69a"&gt; Applying our precedent, we conclude that any error by the trial court was made in good faith, and because Juror K did not actually serve on the jury, the court's error was harmless.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="42650e1813"&gt;&lt;span data-sentence-id="3601d31ec5" quote="false" data-paragraph-id="42650e1813"&gt; ¶29 We then turn to the second issue before us—whether the statements in Juror LL's affidavit constitute "extraneous prejudicial information" for purposes of CRE 606(b).&lt;/span&gt;&lt;span data-sentence-id="b34d1a5571" quote="false" data-paragraph-id="42650e1813"&gt; We conclude that the juror's comment recounting a judge's statement about jury deliberations during a past jury experience was not legal content relevant to Clark's case.&lt;/span&gt;&lt;span data-sentence-id="cf13aa36f9" quote="false" data-paragraph-id="42650e1813"&gt; Accordingly, we hold that the information was not extraneous prejudicial information for purposes of the exception to Rule 606(b).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;15&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="2d158bf6fd"&gt; &lt;strong&gt;A.&lt;span data-sentence-id="7b369b5891" quote="false" data-paragraph-id="2d158bf6fd"&gt; The Erroneous Denial of a For-Cause Challenge to a Biased Juror Is Harmless When It Is Cured Through the Use of a Peremptory Strike&lt;/span&gt;&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="dffb38be3f"&gt;&lt;span data-sentence-id="a261a71489" quote="false" data-paragraph-id="dffb38be3f"&gt; ¶30 The division determined that the trial court's denial of Clark's for-cause challenge to Juror K was an abuse of discretion.&lt;/span&gt;&lt;span data-sentence-id="506ebf7679" quote="false" data-paragraph-id="dffb38be3f"&gt; &lt;em&gt;Clark&lt;/em&gt;, ¶ 21, 512 P.3d at 1079.&lt;/span&gt;&lt;span data-sentence-id="c9544ee19e" quote="false" data-paragraph-id="dffb38be3f"&gt; The People do not challenge this ruling.&lt;/span&gt;&lt;span data-sentence-id="5da0454923" quote="false" data-paragraph-id="dffb38be3f"&gt; We therefore assume for the purpose of our analysis that the trial court erred when it denied the challenge for cause to Juror K.&lt;/span&gt;&lt;span data-sentence-id="677bf18a8a" quote="false" data-paragraph-id="dffb38be3f"&gt; The question is whether this error is structural and requires automatic reversal or instead is subject to harmless-error analysis.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="8a6a4b5d5c"&gt;&lt;span data-sentence-id="40aace3a33" quote="false" data-paragraph-id="8a6a4b5d5c"&gt; ¶31 Clark's primary argument, mirroring Judge Schutz's partial dissent, is that our decisions in &lt;em&gt;Novotny&lt;/em&gt; and &lt;em&gt;Vigil&lt;/em&gt; do not apply because the trial court's erroneous denial of his for-cause challenge to Juror K implicated his rights to equal protection under the Fourteenth Amendment.&lt;/span&gt;&lt;span data-sentence-id="7354e4d9fd" quote="false" data-paragraph-id="8a6a4b5d5c"&gt; Alternatively, Clark argues that the trial court's error falls outside the general rule in &lt;em&gt;Novotny&lt;/em&gt; and &lt;em&gt;Vigil&lt;/em&gt;.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="49aba69716"&gt;&lt;span data-sentence-id="9d0ea9ad1b" quote="false" data-paragraph-id="49aba69716"&gt; ¶32 We begin with a discussion of the applicable standard of review.&lt;/span&gt;&lt;span data-sentence-id="9eb2d124e7" quote="false" data-paragraph-id="49aba69716"&gt; Next, we review the distinction between structural error requiring automatic reversal and trial error that is analyzed for harmlessness.&lt;/span&gt;&lt;span data-sentence-id="555b093528" quote="false" data-paragraph-id="49aba69716"&gt; We then describe Supreme Court and Colorado precedent, including &lt;em&gt;Novotny&lt;/em&gt; and &lt;em&gt;Vigil&lt;/em&gt;, regarding the standard of reversal that applies to errors impacting the use of peremptory challenges.&lt;/span&gt;&lt;span data-sentence-id="bd21648941" quote="false" data-paragraph-id="49aba69716"&gt; Consistent with that precedent, we conclude that the trial court's error is subject to harmless-error analysis.&lt;/span&gt;&lt;span data-sentence-id="93fe25a5fb" quote="false" data-paragraph-id="49aba69716"&gt; We also reject Clark's argument that the error &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;16&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="b198409ed2"&gt;&lt;span data-sentence-id="719f943cf9" quote="false" data-paragraph-id="b198409ed2"&gt; amounted to a violation of his equal protection rights.&lt;/span&gt;&lt;span data-sentence-id="096a3ca80d" quote="false" data-paragraph-id="b198409ed2"&gt; Accordingly, applying the harmless-error standard of reversal, we determine that any error by the trial court was harmless and does not warrant reversal.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="a12ef059e3"&gt; &lt;strong&gt;1. Standard of Review&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="51f8e0932c"&gt;&lt;span data-sentence-id="41124c4603" quote="false" data-paragraph-id="51f8e0932c"&gt; ¶33 The determination of the proper standard of reversal to be applied in a case is a question of law that we review de novo.&lt;/span&gt;&lt;span data-sentence-id="604ac64312" quote="false" data-paragraph-id="51f8e0932c"&gt; &lt;em&gt;See A.R. v. D.R.&lt;/em&gt;, 2020 CO 10, ¶ 37, &lt;a href="/vid/895709746" data-vids="895709746"&gt;456 P.3d 1266&lt;/a&gt;, 1276 (identifying de novo review as the proper standard of review for the determination of the proper legal standard to apply); &lt;em&gt;Abu-Nantambu-El&lt;/em&gt;, ¶ 23, 454 P.3d at 1050 (reviewing de novo which standard of reversal applies when a trial court erroneously denies a challenge for cause and the juror ultimately serves on the jury).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="48fdb51405"&gt; &lt;strong&gt;2.&lt;span data-sentence-id="e0547c19ff" quote="false" data-paragraph-id="48fdb51405"&gt; Structural Errors and the Sixth Amendment&lt;/span&gt;&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="a9571aa3d6"&gt; ¶34 &lt;span data-sentence-id="91eab9d4f7" quote="true" data-paragraph-id="a9571aa3d6"&gt;"Certain constitutional rights are so basic to a fair trial that their violation can never be harmless."&lt;/span&gt;&lt;span data-sentence-id="88f5bc3d62" quote="false" data-paragraph-id="a9571aa3d6"&gt; &lt;em&gt;Abu-Nantambu-El&lt;/em&gt;, ¶ 27, 454 P.3d at 1050 (citing &lt;em&gt;Gray v. Mississippi&lt;/em&gt;, &lt;a href="/vid/884671537" data-vids="884671537"&gt;481 U.S. 648&lt;/a&gt;, 668 (1987)).&lt;/span&gt;&lt;span data-sentence-id="1931f283b3" quote="false" data-paragraph-id="a9571aa3d6"&gt; Such errors have been deemed "structural errors" because they are not "'simply an error in the trial process itself,'" but rather "affect the 'framework within which the trial proceeds'"—that is, the very &lt;em&gt;structure&lt;/em&gt; of the trial itself.&lt;/span&gt;&lt;span data-sentence-id="6316e0a5dd" quote="false" data-paragraph-id="a9571aa3d6"&gt; &lt;em&gt;People v. Fry&lt;/em&gt;, &lt;a href="/vid/886264031" data-vids="886264031"&gt;92 P.3d 970&lt;/a&gt;, 980 (Colo. 2004) (quoting &lt;em&gt;Blecha v. People&lt;/em&gt;, &lt;a href="/vid/890751806" data-vids="890751806"&gt;962 P.2d 931&lt;/a&gt;, 942 (Colo. 1998)).&lt;/span&gt;&lt;span data-sentence-id="664e7de593" quote="false" data-paragraph-id="a9571aa3d6"&gt; Whereas ordinary errors in the trial process &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;17&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d2be9bd2de"&gt;&lt;span data-sentence-id="cbba6af92e" quote="false" data-paragraph-id="d2be9bd2de"&gt; may be deemed harmless, structural errors are incompatible with harmless error analysis.&lt;/span&gt; &lt;em&gt;Id.&lt;/em&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="c73af8d028"&gt;&lt;span data-sentence-id="aae24fa6cd" quote="false" data-paragraph-id="c73af8d028"&gt; ¶35 We have held that when a trial court's error results in the seating of a juror who is biased against the defendant, the error is structural.&lt;/span&gt;&lt;span data-sentence-id="e84603ab8a" quote="false" data-paragraph-id="c73af8d028"&gt; &lt;em&gt;Abu-Nantambu-El&lt;/em&gt;, ¶ 30, 454 P.3d at 1050 (first citing &lt;em&gt;United States v. Martinez-Salazar&lt;/em&gt;, &lt;a href="/vid/893108760" data-vids="893108760"&gt;528 U.S. 304&lt;/a&gt;, 316 (2000); then citing &lt;em&gt;Ross v. Oklahoma&lt;/em&gt;, &lt;a href="/vid/886236692" data-vids="886236692"&gt;487 U.S. 81&lt;/a&gt;, 85 (1988); and then citing &lt;em&gt;Morrison v. People&lt;/em&gt;, &lt;a href="/vid/887941915" data-vids="887941915"&gt;19 P.3d 668&lt;/a&gt;, 670 (Colo. 2000)).&lt;/span&gt;&lt;span data-sentence-id="f2777d5a33" quote="false" data-paragraph-id="c73af8d028"&gt; Such an error violates the defendant's right to "&lt;/span&gt;&lt;span data-sentence-id="5565e69c0f" quote="true" data-paragraph-id="c73af8d028"&gt;[a] fair and impartial jury[, which] is a key element of a defendant's constitutional right to a fair trial under both the United States and Colorado Constitutions."&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="85f1d5f124" quote="false" data-paragraph-id="c73af8d028"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 14, 454 P.3d at 1047 (first citing U.S. Const. amends.&lt;span data-sentence-id="9b1bf1cd43" quote="false" data-paragraph-id="c73af8d028"&gt; V, VI, XIV; then citing Colo.&lt;/span&gt; Const. art.&lt;span data-sentence-id="879d64ae14" quote="false" data-paragraph-id="c73af8d028"&gt; II, §§ 16, 25; then citing &lt;em&gt;Vigil&lt;/em&gt;, ¶ 9, 455 P.3d at 334; and then citing &lt;em&gt;People v. Russo&lt;/em&gt;, &lt;a href="/vid/886936301" data-vids="886936301"&gt;713 P.2d 356&lt;/a&gt;, 360 (Colo. 1986)).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="0fe0c79a4b"&gt;&lt;span data-sentence-id="4ebcbf621b" quote="false" data-paragraph-id="0fe0c79a4b"&gt; ¶36 Both for-cause and peremptory challenges serve as means of securing this right.&lt;/span&gt;&lt;span data-sentence-id="8a135d642b" quote="false" data-paragraph-id="0fe0c79a4b"&gt; First, Colorado law requires a court, upon a party's challenge, to remove a juror for cause when particular circumstances implicate the juror's ability to remain impartial.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="dc4d1a9792" quote="false" data-paragraph-id="0fe0c79a4b"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 15, 454 P.3d at 1048.&lt;span data-sentence-id="3000564c00" quote="false" data-paragraph-id="0fe0c79a4b"&gt; Relevant here, section 16-10-103(1)(j) requires a trial court to excuse a juror who &lt;/span&gt;&lt;span data-sentence-id="1b4fdb82b7" quote="true" data-paragraph-id="0fe0c79a4b"&gt;"evinc[es] enmity or bias toward the defendant or the state."&lt;/span&gt;&lt;span data-sentence-id="beecd0cee1" quote="false" data-paragraph-id="0fe0c79a4b"&gt; Second, section 16-10-104, C.R.S. (2023), permits both parties to exercise peremptory challenges, which allow the removal of "jurors whom they perceive as biased."&lt;/span&gt;&lt;span data-sentence-id="93a4b25b72" quote="false" data-paragraph-id="0fe0c79a4b"&gt; &lt;em&gt;Abu-Nantambu-El&lt;/em&gt;, ¶ 18, 454 P.3d at 1048 &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;18&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="563aeb1818"&gt;&lt;span data-sentence-id="02c2baca95" quote="false" data-paragraph-id="563aeb1818"&gt; (quoting &lt;em&gt;Vigil&lt;/em&gt;, ¶ 19, 455 P.3d at 337).&lt;/span&gt;&lt;span data-sentence-id="05b16cc293" quote="false" data-paragraph-id="563aeb1818"&gt; The number of peremptory challenges available depends on the circumstances of the case and the nature of the charge.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="4f80ad07a5"&gt;&lt;span data-sentence-id="e11d6f675c" quote="false" data-paragraph-id="4f80ad07a5"&gt; ¶37 Prior to &lt;em&gt;Novotny&lt;/em&gt; and &lt;em&gt;Vigil&lt;/em&gt;, Colorado precedent required automatic reversal when a defendant used a peremptory strike to remove a prospective juror who should have been removed for cause and the defendant otherwise exhausted their peremptory challenges.&lt;/span&gt;&lt;span data-sentence-id="7067e149da" quote="false" data-paragraph-id="4f80ad07a5"&gt; &lt;em&gt;People v. Macrander&lt;/em&gt;, &lt;a href="/vid/886939920" data-vids="886939920"&gt;828 P.2d 234&lt;/a&gt;, 243 (Colo. 1992), &lt;em&gt;overruled by Novotny&lt;/em&gt;, ¶ 27, 320 P.3d at 1203.&lt;/span&gt;&lt;span data-sentence-id="23057650b9" quote="false" data-paragraph-id="4f80ad07a5"&gt; We changed course in &lt;em&gt;Novotny&lt;/em&gt; and &lt;em&gt;Vigil&lt;/em&gt; in recognition of jurisprudential developments in the understanding of trial error and structural error that followed our decision in &lt;em&gt;Macrander&lt;/em&gt;.&lt;/span&gt;&lt;span data-sentence-id="8d277bc075" quote="false" data-paragraph-id="4f80ad07a5"&gt; &lt;em&gt;See Novotny&lt;/em&gt;, ¶ 27, 320 P.3d at 1203 (concluding &lt;/span&gt;&lt;span data-sentence-id="06462578e2" quote="true" data-paragraph-id="4f80ad07a5"&gt;"that allowing a defendant fewer peremptory challenges than authorized, or than available to and exercised by the prosecution, does not, in and of itself, amount to structural error"&lt;/span&gt;&lt;span data-sentence-id="bd7ffa9801" quote="false" data-paragraph-id="4f80ad07a5"&gt; and overruling prior holdings to the contrary); &lt;em&gt;Vigil&lt;/em&gt;, ¶ 22, 455 P.3d at 338 ("For virtually the same reasons we found it important and justified in &lt;em&gt;Novotny&lt;/em&gt; to partially overturn this line of our own prior holdings, we consider it similarly justified to now overturn them in full.&lt;/span&gt;&lt;span data-sentence-id="416d8c73cd" quote="false" data-paragraph-id="4f80ad07a5"&gt; To the extent that our prior rationale was based on pre-harmless error holdings, the constitutional significance of peremptory challenges, and even federal due process implications of violating state peremptory challenge law, those premises have now all been independently swept away by developments in the &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;19&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="1b26a3fdde"&gt;&lt;span data-sentence-id="fa94e2706c" quote="false" data-paragraph-id="1b26a3fdde"&gt; jurisprudence of the Supreme Court which we have either already adopted or by which we are constitutionally bound.")&lt;/span&gt;. &lt;/p&gt;
 &lt;p data-paragraph-id="24237c1326"&gt;&lt;span data-sentence-id="380c1b2866" quote="false" data-paragraph-id="24237c1326"&gt; ¶38 &lt;em&gt;Novotny&lt;/em&gt; also relied on Supreme Court case law recognizing that peremptory strikes are rooted in state law, not the federal constitution.&lt;/span&gt;&lt;span data-sentence-id="bb5600f400" quote="false" data-paragraph-id="24237c1326"&gt; ¶¶ 14-17, 320 P.3d at 1199-1200 (citing, &lt;em&gt;inter alia&lt;/em&gt;, &lt;em&gt;Rivera v. Illinois&lt;/em&gt;, &lt;a href="/vid/887473648" data-vids="887473648"&gt;556 U.S. 148&lt;/a&gt;, 157 (2009)) (explaining that &lt;/span&gt;&lt;span data-sentence-id="ab9b6e703c" quote="true" data-paragraph-id="24237c1326"&gt;"the United States Supreme Court has now expressly rejected the understanding we, and a substantial number of other jurisdictions, had of the federal due process implications of"&lt;/span&gt;&lt;span data-sentence-id="42953927b4" quote="false" data-paragraph-id="24237c1326"&gt; a state court depriving a defendant of a statelaw granted peremptory challenge); &lt;em&gt;see also Martinez-Salazar&lt;/em&gt;, 528 U.S. at 311 ("&lt;/span&gt;&lt;span data-sentence-id="85c2513ea4" quote="true" data-paragraph-id="24237c1326"&gt;[U]nlike the right to an impartial jury guaranteed by the Sixth Amendment, peremptory challenges are not of federal constitutional dimension."&lt;/span&gt;).&lt;span data-sentence-id="10ff0fa228" quote="false" data-paragraph-id="24237c1326"&gt; Our decision in &lt;em&gt;Vigil&lt;/em&gt; likewise emphasized that &lt;/span&gt;&lt;span data-sentence-id="f8a1082243" quote="true" data-paragraph-id="24237c1326"&gt;"neither the prosecution nor the defendant is granted any right in this jurisdiction, by constitution, statute, or rule, to shape the composition of the jury through the use of peremptory challenges,"&lt;/span&gt; thus a &lt;span data-sentence-id="8be576b24d" quote="true" data-paragraph-id="24237c1326"&gt;"defendant could not [be] harmed by the deprivation of any such right."&lt;/span&gt;&lt;span data-sentence-id="58c772d22e" quote="false" data-paragraph-id="24237c1326"&gt; &lt;em&gt;Vigil&lt;/em&gt;, ¶ 25, 455 P.3d at 339.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="be83d5cc84"&gt;&lt;span data-sentence-id="daf183cd95" quote="false" data-paragraph-id="be83d5cc84"&gt; ¶39 Accordingly, &lt;em&gt;Vigil&lt;/em&gt; rejected the notion that a defendant who uses a peremptory strike to remove a juror for whom the trial court erroneously denied a for-cause challenge was effectively "forced" to use their peremptory strike.&lt;/span&gt;&lt;span data-sentence-id="ded017a8c2" quote="false" data-paragraph-id="be83d5cc84"&gt; ¶ 21, 455 P.3d at 337-38 (citing &lt;em&gt;Martinez-Salazar&lt;/em&gt;, 528 U.S. at 314-15); &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;20&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="bd65fc2b89"&gt;&lt;span data-sentence-id="94ca393550" quote="false" data-paragraph-id="bd65fc2b89"&gt; &lt;em&gt;see also Ross&lt;/em&gt;, 487 U.S. at 90-91 (&lt;/span&gt;&lt;span data-sentence-id="5116d5866e" quote="true" data-paragraph-id="bd65fc2b89"&gt;"As required by [state] law, petitioner exercised one of his peremptory challenges to rectify the trial court's error, and consequently he retained only eight peremptory challenges to use in his unfettered discretion.&lt;/span&gt;&lt;span data-sentence-id="7f97da233f" quote="true" data-paragraph-id="bd65fc2b89"&gt; But he received all that [state] law allowed him, and therefore his due process challenge fails."&lt;/span&gt;). &lt;/p&gt;
 &lt;p data-paragraph-id="89fcbe3f60"&gt;&lt;span data-sentence-id="3841675752" quote="false" data-paragraph-id="89fcbe3f60"&gt; ¶40 Our decision in &lt;em&gt;Novotny&lt;/em&gt; acknowledged that, aside from "an actual Sixth Amendment violation," there may be some circumstances in which an erroneous denial of a for-cause challenge does rise to the level of structural error, requiring automatic reversal.&lt;/span&gt;&lt;span data-sentence-id="a3ea8cceb6" quote="false" data-paragraph-id="89fcbe3f60"&gt; ¶¶ 23, 27, 320 P.3d at 1202-03.&lt;/span&gt;&lt;span data-sentence-id="69f3138ecc" quote="false" data-paragraph-id="89fcbe3f60"&gt; Citing &lt;em&gt;Martinez-Salazar&lt;/em&gt;, the court acknowledged that such reversible errors include violations of state law "committed in other than good faith."&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="a20f278872" quote="false" data-paragraph-id="89fcbe3f60"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 23, 320 P.3d at 1202 (citing &lt;em&gt;Martinez-Salazar&lt;/em&gt;, 528 U.S. at 316-17).&lt;span data-sentence-id="9c5830268e" quote="false" data-paragraph-id="89fcbe3f60"&gt; In &lt;em&gt;Martinez-Salazar&lt;/em&gt;, the Supreme Court held "that a defendant's exercise of peremptory challenges . . . is not denied or impaired when the defendant chooses to use a peremptory challenge to remove a juror who should have been excused for cause."&lt;/span&gt;&lt;span data-sentence-id="69cec61295" quote="false" data-paragraph-id="89fcbe3f60"&gt; &lt;em&gt;Martinez-Salazar&lt;/em&gt;, 528 U.S. at 317.&lt;/span&gt;&lt;span data-sentence-id="76a7750d5b" quote="false" data-paragraph-id="89fcbe3f60"&gt; But in so doing, the Court noted that the case before it did not involve any assertion that the trial court "deliberately misapplied the law in order to force the defendants to use a peremptory challenge to correct the court's error."&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="a4870e5644" quote="false" data-paragraph-id="89fcbe3f60"&gt;&lt;/span&gt;&lt;/em&gt; at 316 (citation omitted) (citing &lt;em&gt;Ross&lt;/em&gt;, 487 U.S. at 91 n.5). &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;21&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="fffe96cee5"&gt;&lt;span data-sentence-id="10fe7238ca" quote="false" data-paragraph-id="fffe96cee5"&gt; ¶41 &lt;em&gt;Novotny&lt;/em&gt; thus contemplated two ways an erroneous denial of a for-cause challenge might rise to the level of structural error: (1) where the error resulted in a Sixth Amendment violation because the biased juror actually served on the jury, and (2) where the error involved a deliberate misapplication of the law intended to disadvantage the defendant.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="f0d01cf06d"&gt;&lt;span data-sentence-id="fd746d7855" quote="false" data-paragraph-id="f0d01cf06d"&gt; ¶42 The law in Colorado following &lt;em&gt;Novotny&lt;/em&gt; and &lt;em&gt;Vigil&lt;/em&gt; is clear: when a defendant uses a peremptory challenge to correct a trial court's erroneous denial of a challenge for cause, &lt;/span&gt;&lt;span data-sentence-id="490fa28d27" quote="true" data-paragraph-id="f0d01cf06d"&gt;"so long as the defendant receives both an impartial jury and the number of peremptory challenges specified by state statute, the defendant's constitutional rights remain unaffected."&lt;/span&gt;&lt;span data-sentence-id="6167f1fbbf" quote="false" data-paragraph-id="f0d01cf06d"&gt; &lt;em&gt;Abu-Nantambu-El&lt;/em&gt;, ¶ 20, 454 P.3d at 1049; &lt;em&gt;see also Novotny,&lt;/em&gt; ¶¶ 23, 27, 320 P.3d at 1202-03.&lt;/span&gt;&lt;span data-sentence-id="9a55529af1" quote="false" data-paragraph-id="f0d01cf06d"&gt; Absent bad faith, any such error that does not result in the biased juror actually participating on the jury is necessarily harmless.&lt;/span&gt;&lt;span data-sentence-id="17ec5b1f44" quote="false" data-paragraph-id="f0d01cf06d"&gt; &lt;em&gt;Abu-Nantambu-El&lt;/em&gt;, ¶ 20, 454 P.3d at 1049.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="4d0f51f7c5"&gt;&lt;span data-sentence-id="b727a14bda" quote="false" data-paragraph-id="4d0f51f7c5"&gt; ¶43 Here, Clark was permitted to use his statutorily allotted number of peremptory challenges.&lt;/span&gt;&lt;span data-sentence-id="a046ea9d71" quote="false" data-paragraph-id="4d0f51f7c5"&gt; Juror K did not serve on the jury for Clark's trial, and Clark does not allege that any biased juror otherwise evaded removal.&lt;/span&gt;&lt;span data-sentence-id="1c468dfdca" quote="false" data-paragraph-id="4d0f51f7c5"&gt; Under &lt;em&gt;Novotny&lt;/em&gt; and &lt;em&gt;Vigil&lt;/em&gt;, any error by the trial court in denying the challenge for cause to Juror K was harmless.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="8618081cd6"&gt;&lt;span data-sentence-id="019f1239a0" quote="false" data-paragraph-id="8618081cd6"&gt; ¶44 Clark nevertheless argues that the trial court's error deprived him of a peremptory challenge because he was forced to use one to cure the trial court's &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;22&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="b4051d7274"&gt; error.&lt;span data-sentence-id="8dc69ae4e1" quote="false" data-paragraph-id="b4051d7274"&gt; But as Judge Fox noted below, this argument is foreclosed by our reasoning in &lt;em&gt;Vigil&lt;/em&gt; and the Supreme Court's decision in &lt;em&gt;Martinez-Salazar&lt;/em&gt;, which expressly rejected this argument.&lt;/span&gt;&lt;span data-sentence-id="9c61d489d9" quote="false" data-paragraph-id="b4051d7274"&gt; &lt;em&gt;Clark&lt;/em&gt;, ¶ 31, 512 P.3d at 1080; &lt;em&gt;Vigil&lt;/em&gt;, ¶ 21, 455 P.3d at 337; &lt;em&gt;Martinez-Salazar&lt;/em&gt;, 528 U.S. at 314-15.&lt;/span&gt;&lt;span data-sentence-id="aa17e78fba" quote="false" data-paragraph-id="b4051d7274"&gt; Clark's choice to exercise a peremptory challenge against Juror K was an exercise of the full guarantee of what he was granted by statute.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="fea28d0571"&gt;&lt;span data-sentence-id="ac5b50583a" quote="false" data-paragraph-id="fea28d0571"&gt; ¶45 Clark also argues that the trial court's error was not made in good faith and thus &lt;em&gt;Novotny&lt;/em&gt; and &lt;em&gt;Vigil&lt;/em&gt;'s general rule for peremptory challenges does not apply.&lt;/span&gt;&lt;span data-sentence-id="c528e75eaf" quote="false" data-paragraph-id="fea28d0571"&gt; But nothing in the record indicates that the court deliberately misapplied the law in order to force Clark to sacrifice a peremptory challenge, and Clark alleges no facts that indicate the trial court otherwise acted in bad faith.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="37ca9c09f8"&gt;&lt;span data-sentence-id="849c83b6d1" quote="false" data-paragraph-id="37ca9c09f8"&gt; ¶46 In sum, any error by the trial court in this case did not result in a biased juror participating in Clark's trial, and Clark has not shown that any error was otherwise deliberate or made in bad faith.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="e30a028d8e"&gt; &lt;strong&gt;3.&lt;span data-sentence-id="bf6f7cb347" quote="false" data-paragraph-id="e30a028d8e"&gt; The Trial Court's Error Did Not Violate Clark's Right to Equal Protection&lt;/span&gt;&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="7c8ac0fdc0"&gt;&lt;span data-sentence-id="6c97dc6910" quote="false" data-paragraph-id="7c8ac0fdc0"&gt; ¶47 Mirroring Judge Schutz's partial dissent, Clark argues that because Juror K expressed &lt;em&gt;racial&lt;/em&gt; bias against him, the trial court's denial of Clark's for-cause challenge violated Clark's right to equal protection under the Fourteenth Amendment, and that the court's error amounted to structural error.&lt;/span&gt;&lt;span data-sentence-id="c18c958dd7" quote="false" data-paragraph-id="7c8ac0fdc0"&gt; Because Clark cannot establish a violation of his right to equal protection, we disagree.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;23&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="11e92b6a75"&gt;&lt;span data-sentence-id="bff8ece63f" quote="false" data-paragraph-id="11e92b6a75"&gt; &lt;strong&gt;a. Bias in Jury Selection and the Equal Protection Clause&lt;/strong&gt; &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="8b04ebaa3f"&gt;&lt;span data-sentence-id="be2d31753b" quote="false" data-paragraph-id="8b04ebaa3f"&gt; ¶48 The Equal Protection Clause of the Fourteenth Amendment prohibits the state from denying &lt;/span&gt;&lt;span data-sentence-id="1157d4f890" quote="true" data-paragraph-id="8b04ebaa3f"&gt;"any person within its jurisdiction the equal protection of the laws."&lt;/span&gt; U.S. Const. amend. XIV, § 1.&lt;span data-sentence-id="9814839e3c" quote="false" data-paragraph-id="8b04ebaa3f"&gt; The "central purpose" of the Equal Protection Clause is &lt;/span&gt;&lt;span data-sentence-id="5b0de8ca92" quote="true" data-paragraph-id="8b04ebaa3f"&gt;"the prevention of official conduct discriminating on the basis of race."&lt;/span&gt;&lt;span data-sentence-id="7268e1b609" quote="false" data-paragraph-id="8b04ebaa3f"&gt; &lt;em&gt;Washington v. Davis&lt;/em&gt;, &lt;a href="/vid/886971712" data-vids="886971712"&gt;426 U.S. 229&lt;/a&gt;, 239 (1976).&lt;/span&gt;&lt;span data-sentence-id="9c605d0e6f" quote="false" data-paragraph-id="8b04ebaa3f"&gt; Accordingly, proof of an equal protection violation requires a showing of (1) &lt;em&gt;purposeful&lt;/em&gt; discrimination, (2) attributable to the &lt;em&gt;state&lt;/em&gt;.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="7c96ae48ed" quote="false" data-paragraph-id="8b04ebaa3f"&gt;&lt;/span&gt;&lt;/em&gt;; &lt;em&gt;Edmonson v. Leesville Concrete Co.&lt;/em&gt;, &lt;a href="/vid/886567799" data-vids="886567799"&gt;500 U.S. 614&lt;/a&gt;, 619 (1991). &lt;/p&gt;
 &lt;p data-paragraph-id="899b011dce"&gt;&lt;span data-sentence-id="a6afdaeca1" quote="false" data-paragraph-id="899b011dce"&gt; ¶49 Beginning with &lt;em&gt;Swain v. Alabama&lt;/em&gt;, &lt;a href="/vid/891064371" data-vids="891064371"&gt;380 U.S. 202&lt;/a&gt; (1965), the Supreme Court has issued several decisions concerning the application of the Equal Protection Clause in the context of jury selection.&lt;/span&gt;&lt;span data-sentence-id="008cd061fb" quote="false" data-paragraph-id="899b011dce"&gt; Perhaps most notably, in &lt;em&gt;Batson&lt;/em&gt;, the Court held that the Constitution forbids racial discrimination in jury selection—specifically, the state may not exercise peremptory challenges to purposefully or deliberately exclude persons from participating in a jury on account of their race.&lt;/span&gt;&lt;span data-sentence-id="7f14467dc3" quote="false" data-paragraph-id="899b011dce"&gt; &lt;em&gt;Batson&lt;/em&gt;, 476 U.S. at 84 (citing &lt;em&gt;Swain&lt;/em&gt;, 380 U.S. at 203-04).&lt;/span&gt;&lt;span data-sentence-id="4f8c04ad82" quote="false" data-paragraph-id="899b011dce"&gt; &lt;em&gt;Batson&lt;/em&gt; established a three-step analysis designed to determine whether a peremptory strike reflected purposeful discrimination.&lt;/span&gt;&lt;span data-sentence-id="38ce687a97" quote="false" data-paragraph-id="899b011dce"&gt; &lt;em&gt;People v. Ojeda&lt;/em&gt;, &lt;a href="/vid/897016516" data-vids="897016516"&gt;2022 CO 7&lt;/a&gt;, ¶ 21, &lt;a href="/vid/907372681" data-vids="907372681"&gt;503 P.3d 856&lt;/a&gt;, 862; &lt;em&gt;see also Batson&lt;/em&gt;, 476 U.S. at 93 ("As in any equal protection case, the 'burden is, of course,' on the defendant who alleges discriminatory selection of the venire 'to prove the &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;24&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="2c5795522c"&gt;&lt;span data-sentence-id="007abe20cc" quote="false" data-paragraph-id="2c5795522c"&gt; existence of purposeful discrimination.'")&lt;/span&gt;&lt;span data-sentence-id="d80d173633" quote="false" data-paragraph-id="2c5795522c"&gt; (quoting &lt;em&gt;Whitus v. Georgia&lt;/em&gt;, &lt;a href="/vid/893629224" data-vids="893629224"&gt;385 U.S. 545&lt;/a&gt;, 550 (1967)).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="fc0dacebd6"&gt;&lt;span data-sentence-id="56c8bd9894" quote="false" data-paragraph-id="fc0dacebd6"&gt; ¶50 Although Clark leans into the &lt;em&gt;Batson&lt;/em&gt; framework to argue against racial bias in the jury trial context, he fails to articulate how the &lt;em&gt;Batson&lt;/em&gt; framework applies to the challenge for cause to Juror K.&lt;/span&gt;&lt;span data-sentence-id="59e383631c" quote="false" data-paragraph-id="fc0dacebd6"&gt; The &lt;em&gt;Batson&lt;/em&gt; framework addresses racial bias in the jury selection process by prohibiting the discriminatory use of peremptory challenges to remove jurors on the basis of race.&lt;/span&gt;&lt;span data-sentence-id="6cbe952bb6" quote="false" data-paragraph-id="fc0dacebd6"&gt; Clark's argument focuses on a completely different kind of "racial bias in the jury selection process"—namely, a potential juror's expression of racial bias during voir dire.&lt;/span&gt;&lt;span data-sentence-id="f31c3b5e11" quote="false" data-paragraph-id="fc0dacebd6"&gt; But the &lt;em&gt;Batson&lt;/em&gt; framework was not designed to address the issue of &lt;em&gt;juror&lt;/em&gt; bias, which implicates the defendant's Sixth Amendment right to an impartial jury.&lt;/span&gt;&lt;span data-sentence-id="ad79e93dac" quote="false" data-paragraph-id="fc0dacebd6"&gt; Instead, &lt;em&gt;Batson&lt;/em&gt; and its progeny rest on the defendant's "right to be tried by a jury whose members are selected by nondiscriminatory criteria."&lt;/span&gt;&lt;span data-sentence-id="659d87061c" quote="false" data-paragraph-id="fc0dacebd6"&gt; &lt;em&gt;Powers v. Ohio&lt;/em&gt;, &lt;a href="/vid/888871362" data-vids="888871362"&gt;499 U.S. 400&lt;/a&gt;, 404 (1991).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="086d454174"&gt;&lt;span data-sentence-id="137f0b8c66" quote="false" data-paragraph-id="086d454174"&gt; ¶51 In his separate opinion, Judge Schutz noted that the &lt;em&gt;Batson&lt;/em&gt; framework &lt;/span&gt;&lt;span data-sentence-id="00f63767fe" quote="true" data-paragraph-id="086d454174"&gt;"was designed 'to serve multiple ends,' only one of which was to protect individual defendants from discrimination in the selection of jurors."&lt;/span&gt;&lt;span data-sentence-id="646c7af45e" quote="false" data-paragraph-id="086d454174"&gt; &lt;em&gt;Clark&lt;/em&gt;, ¶ 96, 512 P.3d at 1090 (Schutz, J., concurring in part and dissenting in part) (quoting &lt;em&gt;Powers&lt;/em&gt;, 499 U.S. at 406).&lt;/span&gt;&lt;span data-sentence-id="884951b264" quote="false" data-paragraph-id="086d454174"&gt; But the Supreme Court's &lt;em&gt;Batson&lt;/em&gt; cases all focus on the harms that derive from the discriminatory use of peremptory challenges.&lt;/span&gt;&lt;span data-sentence-id="dcf33087f2" quote="false" data-paragraph-id="086d454174"&gt; &lt;em&gt;See Powers&lt;/em&gt;, 499 U.S. at 406.&lt;/span&gt;&lt;span data-sentence-id="d33af27813" quote="false" data-paragraph-id="086d454174"&gt; For example, a defendant is denied equal protection of the laws when tried &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;25&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="1d865b43b6"&gt;&lt;span data-sentence-id="7ad1579a0c" quote="false" data-paragraph-id="1d865b43b6"&gt; by a jury from which members of the defendant's race have been purposefully excluded.&lt;/span&gt; &lt;em&gt;Id.&lt;/em&gt; at 404.&lt;span data-sentence-id="cb37e7e2b2" quote="false" data-paragraph-id="1d865b43b6"&gt; In addition, the discriminatory use of peremptory challenges harms the excluded jurors and the community at large.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="dfcaeca4b2" quote="false" data-paragraph-id="1d865b43b6"&gt;&lt;/span&gt;&lt;/em&gt;; &lt;em&gt;see also McCollum&lt;/em&gt;, 505 U.S. at 48-49 (acknowledging that the harm that flows from discriminatory jury selection also undermines public confidence in the integrity of the criminal justice system).&lt;span data-sentence-id="c00da5ae55" quote="false" data-paragraph-id="1d865b43b6"&gt; But the various harms addressed by &lt;em&gt;Batson&lt;/em&gt; all stem from discrimination in the selection of jurors—specifically, discrimination in the discretionary exercise of peremptory challenges.&lt;/span&gt;&lt;span data-sentence-id="f301e250d1" quote="false" data-paragraph-id="1d865b43b6"&gt; Because Clark's argument does not concern purposeful discrimination in the selection of jurors, his reliance on the &lt;em&gt;Batson&lt;/em&gt; framework is misplaced.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="ab2541dcbb"&gt;&lt;span data-sentence-id="b52255f44d" quote="false" data-paragraph-id="ab2541dcbb"&gt; ¶52 Even aside from the obvious factual distinctions between &lt;em&gt;Batson&lt;/em&gt; cases and the circumstances here, Clark fails to allege any equal protection violation.&lt;/span&gt;&lt;span data-sentence-id="17a25ec46b" quote="false" data-paragraph-id="ab2541dcbb"&gt; As explained above, the Equal Protection Clause prohibits &lt;em&gt;state actors&lt;/em&gt; from &lt;em&gt;purposefully&lt;/em&gt; discriminating on the basis of race.&lt;/span&gt;&lt;span data-sentence-id="a84528a0a7" quote="false" data-paragraph-id="ab2541dcbb"&gt; Clark argues that, by "tolerating" Juror K's continued presence on the jury despite his racially biased comments, the court denied Clark equal protection of the law.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="0f394e8a51"&gt;&lt;span data-sentence-id="cd42b5625a" quote="false" data-paragraph-id="0f394e8a51"&gt; ¶53 To support his contention that the tolerance of racial bias constitutes an equal protection violation, Clark cites &lt;em&gt;McCollum&lt;/em&gt;.&lt;/span&gt;&lt;span data-sentence-id="8f57f49714" quote="false" data-paragraph-id="0f394e8a51"&gt; In &lt;em&gt;McCollum&lt;/em&gt;, the Court addressed whether to extend the &lt;em&gt;Batson&lt;/em&gt; framework to apply to a criminal defendant's "&lt;em&gt;purposeful racial discrimination&lt;/em&gt; in the exercise of peremptory &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;26&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="24ee7c7fb0"&gt; challenges."&lt;span data-sentence-id="a1fd775db2" quote="false" data-paragraph-id="24ee7c7fb0"&gt; 505 U.S. at 46-48 (emphasis added).&lt;/span&gt;&lt;span data-sentence-id="6cd48596ff" quote="false" data-paragraph-id="24ee7c7fb0"&gt; The issue of whether purposeful discrimination occurred was not at issue—in fact, that issue would be determined, if the framework applied, through the &lt;em&gt;Batson&lt;/em&gt; analysis itself.&lt;/span&gt; &lt;em&gt;Id.&lt;/em&gt; at 59. &lt;/p&gt;
 &lt;p data-paragraph-id="9d7250fd7c"&gt;&lt;span data-sentence-id="2789bdcf92" quote="false" data-paragraph-id="9d7250fd7c"&gt; ¶54 Accordingly, the &lt;em&gt;McCollum&lt;/em&gt; Court's analysis began with the question of whether the purposefully discriminatory exercise of peremptory challenges by the &lt;em&gt;defense&lt;/em&gt; causes the same kind of harm addressed by &lt;em&gt;Batson&lt;/em&gt;.&lt;/span&gt;&lt;span data-sentence-id="f47b62096e" quote="false" data-paragraph-id="9d7250fd7c"&gt; The Court concluded that it did, stating: "'&lt;/span&gt;&lt;span data-sentence-id="1f796c021f" quote="true" data-paragraph-id="9d7250fd7c"&gt;[B]e it at the hands of the State or the defense,' if a court allows jurors to be excluded because of group bias, '[it] is [a] willing participant in a scheme that could only undermine the very foundation of our system of justice—our citizens' confidence in it.'"&lt;/span&gt;&lt;span data-sentence-id="050e6879b2" quote="false" data-paragraph-id="9d7250fd7c"&gt; 505 U.S. at 49-50 (alterations in original) (quoting &lt;em&gt;State v. Alvarado&lt;/em&gt;, &lt;a href="/vid/894037301" data-vids="894037301"&gt;534 A.2d 440&lt;/a&gt;, 442 (N.J.Super.&lt;/span&gt; Ct. Law Div. 1987)). &lt;/p&gt;
 &lt;p data-paragraph-id="e18cb6aabc"&gt;&lt;span data-sentence-id="0cefd34ccc" quote="false" data-paragraph-id="e18cb6aabc"&gt; ¶55 Clark relies on this language to support his contention that a court's tolerance of racial bias is, standing alone, sufficient to establish an equal protection violation.&lt;/span&gt;&lt;span data-sentence-id="4529c39b01" quote="false" data-paragraph-id="e18cb6aabc"&gt; But the quote from &lt;em&gt;McCollum&lt;/em&gt; provides no such support.&lt;/span&gt;&lt;span data-sentence-id="8edbfb45d3" quote="false" data-paragraph-id="e18cb6aabc"&gt; Whether conduct was purposefully discriminatory was not at issue in &lt;em&gt;McCollum&lt;/em&gt;; thus, the quoted language has no relevance to that element of an equal protection violation claim.&lt;/span&gt;&lt;span data-sentence-id="801bf108c8" quote="false" data-paragraph-id="e18cb6aabc"&gt; The language is likewise irrelevant to the determination of whether there was state action.&lt;/span&gt;&lt;span data-sentence-id="a3665e234d" quote="false" data-paragraph-id="e18cb6aabc"&gt; In fact, the court immediately followed the quoted language by saying: &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 The fact that a defendant's use of discriminatory
 peremptory challenges harms the jurors and the community
 &lt;em&gt;does not end our equal&lt;/em&gt;
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;27&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 &lt;em&gt;protection inquiry&lt;/em&gt;. Racial discrimination, although
 repugnant in all contexts, &lt;em&gt;violates the Constitution only
 when it is attributable to state action&lt;/em&gt;. Thus, the
 second question that must be answered is whether a criminal
 defendant's exercise of a peremptory challenge
 constitutes state action for purposes of the Equal Protection
 Clause.
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d25c2ce430"&gt;&lt;span data-sentence-id="50a66ec1b9" quote="false" data-paragraph-id="d25c2ce430"&gt; 505 U.S. at 50 (citation omitted) (emphases added).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="4e5d42818d"&gt;&lt;span data-sentence-id="f625b31109" quote="false" data-paragraph-id="4e5d42818d"&gt; ¶56 To the extent Clark contends that the trial court's ruling unnecessarily required him to use a peremptory challenge on the basis of his race, we disagree.&lt;/span&gt;&lt;span data-sentence-id="a4cee59741" quote="false" data-paragraph-id="4e5d42818d"&gt; Clark analogizes the trial court's ruling to a hypothetical statute that provides Black defendants with one less peremptory challenge than white defendants.&lt;/span&gt;&lt;span data-sentence-id="289b366aea" quote="false" data-paragraph-id="4e5d42818d"&gt; While such a statute would surely violate the Equal Protection Clause, no comparable purposeful discrimination occurred here.&lt;/span&gt;&lt;span data-sentence-id="4e442dee9d" quote="false" data-paragraph-id="4e5d42818d"&gt; As discussed above, nothing in the record suggests that the trial court purposely denied Clark's challenge for cause to force Clark to expend a peremptory challenge.&lt;/span&gt;&lt;span data-sentence-id="371f50a050" quote="false" data-paragraph-id="4e5d42818d"&gt; Were that true, the court's error would not have been made in good faith and would therefore be excepted from &lt;em&gt;Novotny&lt;/em&gt;'s general rule.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="b8bd827bcd"&gt;&lt;span data-sentence-id="7fb6292d65" quote="false" data-paragraph-id="b8bd827bcd"&gt; ¶57 Finally, Clark contends that the trial court's denial of his challenge for cause to Juror K amounts to structural error because the impacts of the error reflect the concerns articulated by the Supreme Court in &lt;em&gt;Weaver v. Massachusetts&lt;/em&gt;, 582 U.S. 286 (2017).&lt;/span&gt;&lt;span data-sentence-id="71a30012b2" quote="false" data-paragraph-id="b8bd827bcd"&gt; There, the Court articulated three broad rationales for deeming an error structural, namely where (1) the right at issue protects some interest other than preventing the defendant's erroneous conviction; (2) "the effects of the error are &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;28&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="251804ffaf"&gt;&lt;span data-sentence-id="6f025c89b5" quote="false" data-paragraph-id="251804ffaf"&gt; simply too hard to measure," making it "almost impossible" for the government to prove the error was harmless beyond a reasonable doubt; or (3) the error always results in fundamental unfairness and thus any effort by the government to show harmlessness "would be futile."&lt;/span&gt; &lt;em&gt;Id.&lt;/em&gt; at 295-96. &lt;/p&gt;
 &lt;p data-paragraph-id="4449cb7afd"&gt;&lt;span data-sentence-id="5d0d69d205" quote="false" data-paragraph-id="4449cb7afd"&gt; ¶58 As we have explained, structural errors are a narrow class of constitutional errors.&lt;/span&gt;&lt;span data-sentence-id="02d4e59c05" quote="false" data-paragraph-id="4449cb7afd"&gt; Because Clark has not established a constitutional violation, any error by the trial court cannot be deemed structural.&lt;/span&gt;&lt;span data-sentence-id="8cef33cdb9" quote="false" data-paragraph-id="4449cb7afd"&gt; Regardless, the error here did not result in the type of harm contemplated by &lt;em&gt;Weaver&lt;/em&gt;.&lt;/span&gt;&lt;span data-sentence-id="dad91e3f45" quote="false" data-paragraph-id="4449cb7afd"&gt; Clark focuses on the impact of the judge's decision on the potential jurors' perception of the judiciary, saying that the denial "sent an intolerable message."&lt;/span&gt;&lt;span data-sentence-id="3b97ebc99d" quote="false" data-paragraph-id="4449cb7afd"&gt; As a factual matter, this claim is unsupported.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="b666a23736"&gt;&lt;span data-sentence-id="e30bcf2b3f" quote="false" data-paragraph-id="b666a23736"&gt; ¶59 Crucially, there is no evidence that the jury was aware of the challenge, let alone the court's ruling or its reasoning.&lt;/span&gt;&lt;span data-sentence-id="eb333e50fb" quote="false" data-paragraph-id="b666a23736"&gt; The challenge and the ruling were made during a bench conference, out of the potential jurors' hearing.&lt;/span&gt;&lt;span data-sentence-id="e0cafa7532" quote="false" data-paragraph-id="b666a23736"&gt; And when the trial court provided its reasoning on the record after the fact, all of the jurors had been dismissed from the room.&lt;/span&gt;&lt;span data-sentence-id="bd22135faa" quote="false" data-paragraph-id="b666a23736"&gt; Ultimately, the only events the jurors witnessed were Juror K's comments during voir dire and Juror K's subsequent dismissal.&lt;/span&gt;&lt;span data-sentence-id="4f056e4254" quote="false" data-paragraph-id="b666a23736"&gt; If there was any reasonable conclusion to draw about the permissibility of racial bias in the courtroom, it was that such expressions of bias result in dismissal, not that they are tolerated or welcomed.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;29&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="0f50298da5"&gt;&lt;span data-sentence-id="e1188bea53" quote="false" data-paragraph-id="0f50298da5"&gt; ¶60 Clark has thus failed to prove any cognizable harm, much less a constitutional error that rises to the level of structural error.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="cc2019eb5c"&gt; &lt;strong&gt;4.&lt;span data-sentence-id="fbfb43bc13" quote="false" data-paragraph-id="cc2019eb5c"&gt; The Trial Court's Erroneous Denial of Clark's For-Cause Challenge of Juror K Was Harmless and Does Not Require Reversal&lt;/span&gt;&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="6b39873163"&gt;&lt;span data-sentence-id="c163f70ff2" quote="false" data-paragraph-id="6b39873163"&gt; ¶61 Because &lt;em&gt;Novotny&lt;/em&gt; and &lt;em&gt;Vigil&lt;/em&gt; govern the analysis here, we review the trial court's error for harmlessness to determine whether reversal is required.&lt;/span&gt; &lt;span data-sentence-id="629fbb8fc6" quote="true" data-paragraph-id="6b39873163"&gt;"Under this standard, reversal is required only if the error affects the substantial rights of the parties.&lt;/span&gt;&lt;span data-sentence-id="f48c3c102e" quote="true" data-paragraph-id="6b39873163"&gt; That is, we reverse if the error 'substantially influenced the verdict or affected the fairness of the trial proceedings.'"&lt;/span&gt;&lt;span data-sentence-id="b753303697" quote="false" data-paragraph-id="6b39873163"&gt; &lt;em&gt;Hagos v. People&lt;/em&gt;, &lt;a href="/vid/895257365" data-vids="895257365"&gt;2012 CO 63&lt;/a&gt;, ¶ 12, &lt;a href="/vid/895257365" data-vids="895257365"&gt;288 P.3d 116&lt;/a&gt;, 119 (citations omitted) (quoting &lt;em&gt;Tevlin v. People&lt;/em&gt;, &lt;a href="/vid/887212575" data-vids="887212575"&gt;715 P.2d 338&lt;/a&gt;, 342 (Colo. 1986)).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="9145d001fd"&gt;&lt;span data-sentence-id="80b463b098" quote="false" data-paragraph-id="9145d001fd"&gt; ¶62 Juror K did not actually serve on the jury in Clark's trial.&lt;/span&gt;&lt;span data-sentence-id="20941711f7" quote="false" data-paragraph-id="9145d001fd"&gt; Therefore, the trial court's denial of Clark's challenge to remove Juror K for cause did not substantially influence the verdict or affect the fairness of the trial proceedings.&lt;/span&gt;&lt;span data-sentence-id="dc87433521" quote="false" data-paragraph-id="9145d001fd"&gt; As explained above, the court's denial of his for-cause challenge did not "force" Clark to use one of his peremptory challenges or otherwise deprive him of the full allotment of peremptory challenges granted by statute to criminal defendants.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="391019cd9a"&gt;&lt;span data-sentence-id="419b6878d1" quote="false" data-paragraph-id="391019cd9a"&gt; ¶63 To hold that an erroneous denial of a challenge for cause to a potential juror who has expressed racial bias is not structural error is not to say it is unimportant or inconsequential.&lt;/span&gt;&lt;span data-sentence-id="610b1192bf" quote="false" data-paragraph-id="391019cd9a"&gt; However, where, as here, the defendant's use of a peremptory &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;30&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="ddecc35d73"&gt;&lt;span data-sentence-id="c9118f556a" quote="false" data-paragraph-id="ddecc35d73"&gt; challenge to remove the juror ensured that the biased juror did not ultimately sit on the jury, reversal of the defendant's conviction is not required because there was no violation of the right to an impartial jury or the right to equal protection.&lt;/span&gt;&lt;span data-sentence-id="ca78a30744" quote="false" data-paragraph-id="ddecc35d73"&gt; Where a good faith error does not end up impacting the defendant's trial, reversal is unwarranted.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="62ada6be7e"&gt;&lt;span data-sentence-id="8ed1a84c6b" quote="false" data-paragraph-id="62ada6be7e"&gt; &lt;strong&gt;B. Juror LL's Affidavit&lt;/strong&gt; &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="7726965380"&gt;&lt;span data-sentence-id="95aa8ceda2" quote="false" data-paragraph-id="7726965380"&gt; ¶64 Clark argues that Juror LL's affidavit describing statements made by another juror during deliberations constituted "extraneous prejudicial information" under CRE 606(b), and that he is therefore entitled to an evidentiary hearing to determine whether that information posed a reasonable possibility of prejudice.&lt;/span&gt;&lt;span data-sentence-id="81c8ccfaff" quote="false" data-paragraph-id="7726965380"&gt; After setting forth the applicable standard of review, we discuss CRE 606(b) and the requirements for a new trial based on a claim that the jury was exposed to extraneous prejudicial information.&lt;/span&gt;&lt;span data-sentence-id="289bb8e12b" quote="false" data-paragraph-id="7726965380"&gt; Applying this framework, we conclude that the statements mentioned in Juror LL's affidavit did not constitute "extraneous prejudicial information."&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="a12ef059e3"&gt; &lt;strong&gt;1. Standard of Review&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="bab1f98e60"&gt;&lt;span data-sentence-id="8b4899b47a" quote="false" data-paragraph-id="bab1f98e60"&gt; ¶65 Whether the statements in Juror LL's affidavit constituted "extraneous prejudicial information" under CRE 606(b) is a legal question we review de novo.&lt;/span&gt;&lt;span data-sentence-id="5f986f2359" quote="false" data-paragraph-id="bab1f98e60"&gt; &lt;em&gt;See People v. Harlan&lt;/em&gt;, &lt;a href="/vid/887948005" data-vids="887948005"&gt;109 P.3d 616&lt;/a&gt;, 624 (Colo. 2005).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;31&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="55c901edca"&gt; &lt;strong&gt;2. CRE 606(b)&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="684fd805dd"&gt;&lt;span data-sentence-id="c3d16efac7" quote="false" data-paragraph-id="684fd805dd"&gt; ¶66 In order to promote &lt;/span&gt;&lt;span data-sentence-id="2d701fc484" quote="true" data-paragraph-id="684fd805dd"&gt;"finality of verdicts, shield verdicts from impeachment, and protect jurors from harassment and coercion,"&lt;/span&gt; &lt;em&gt;id.&lt;span data-sentence-id="b3ef2af537" quote="false" data-paragraph-id="684fd805dd"&gt;&lt;/span&gt;&lt;/em&gt;, Colorado law strongly disfavors any juror testimony impeaching a verdict, &lt;em&gt;Kendrick v. Pippin&lt;/em&gt;, &lt;a href="/vid/885896933" data-vids="885896933"&gt;252 P.3d 1052&lt;/a&gt;, 1063 (Colo. 2011) (citing &lt;em&gt;Harlan&lt;/em&gt;, 109 P.3d at 624), &lt;em&gt;abrogated on other grounds by Bedor v. Johnson&lt;/em&gt;, 2013 CO 4, &lt;a href="/vid/887890559" data-vids="887890559"&gt;292 P.3d 924&lt;/a&gt;.&lt;span data-sentence-id="cf7a0ad0a8" quote="false" data-paragraph-id="684fd805dd"&gt; With certain exceptions not relevant here, &lt;em&gt;see Pena-Rodriguez&lt;/em&gt;, 580 U.S. at 225, such testimony is generally prohibited, &lt;/span&gt;&lt;span data-sentence-id="16efe8db8a" quote="true" data-paragraph-id="684fd805dd"&gt;"even on grounds such as mistake, misunderstanding of the law or facts, failure to follow instructions, lack of unanimity, or application of the wrong legal standard,"&lt;/span&gt;&lt;span data-sentence-id="bbe5b39ba9" quote="false" data-paragraph-id="684fd805dd"&gt; &lt;em&gt;Harlan&lt;/em&gt;, 109 P.3d at 624 (citing &lt;em&gt;Hall v. Levine&lt;/em&gt;, &lt;a href="/vid/887564613" data-vids="887564613"&gt;104 P.3d 222&lt;/a&gt;, 225 (Colo. 2005)).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="7d423834d0"&gt;&lt;span data-sentence-id="8ec5775b87" quote="false" data-paragraph-id="7d423834d0"&gt; ¶67 CRE 606(b) codifies this general prohibition on inquiries into the validity of a verdict, stating that: &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 a juror may not testify as to any matter or statement
 occurring during the course of the jury's deliberations
 or to the effect of anything upon his or any other
 juror's mind or emotions as influencing him to assent to
 or dissent from the verdict or indictment or concerning his
 mental processes in connection therewith.
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="1831157d37"&gt;&lt;span data-sentence-id="6a07116d5a" quote="false" data-paragraph-id="1831157d37"&gt; Rule 606(b) nevertheless allows inquiry into three narrow matters: "(1) whether extraneous prejudicial information was improperly brought to the jurors' attention, (2) whether any outside influence was improperly brought to bear upon any juror, or (3) whether there was a mistake in entering the verdict onto the &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;32&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="bde03f9936"&gt; verdict form." &lt;em&gt;Id.&lt;span data-sentence-id="4ad8a763b8" quote="true" data-paragraph-id="bde03f9936"&gt;&lt;/span&gt;&lt;/em&gt; Under the Rule, a trial court may not receive a juror's affidavit concerning anything other than these three matters. &lt;em&gt;Id.&lt;/em&gt; ("&lt;span data-sentence-id="c5865bf05f" quote="false" data-paragraph-id="bde03f9936"&gt;A juror's affidavit or evidence of any statement by the juror may not be received on a matter about which the juror would be precluded from testifying.")&lt;/span&gt;. &lt;/p&gt;
 &lt;p data-paragraph-id="fe363712ab"&gt;&lt;span data-sentence-id="764edcdd08" quote="false" data-paragraph-id="fe363712ab"&gt; ¶68 To set aside a verdict because of extraneous prejudicial information improperly brought to the jurors' attention, &lt;/span&gt;&lt;span data-sentence-id="be026e6bc7" quote="true" data-paragraph-id="fe363712ab"&gt;"a party must show both that extraneous information was improperly before the jury and that the extraneous information posed the reasonable possibility of prejudice to the defendant."&lt;/span&gt;&lt;span data-sentence-id="aecb3c9e8d" quote="false" data-paragraph-id="fe363712ab"&gt; &lt;em&gt;Kendrick&lt;/em&gt;, 252 P.3d at 1063.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="9b8a8d97be"&gt;&lt;span data-sentence-id="52f6a2df4c" quote="false" data-paragraph-id="9b8a8d97be"&gt; ¶69 The evaluation of whether the extraneous prejudicial information exception to CRE 606(b) applies proceeds in two steps.&lt;/span&gt;&lt;span data-sentence-id="91136b1d78" quote="false" data-paragraph-id="9b8a8d97be"&gt; &lt;em&gt;Harlan&lt;/em&gt;, 109 P.3d at 629.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="fe45daffa5"&gt;&lt;span data-sentence-id="575a3be0fc" quote="false" data-paragraph-id="fe45daffa5"&gt; ¶70 At step one, the court must determine whether the party alleging misconduct has presented competent evidence alleging that extraneous prejudicial information was improperly before the jury.&lt;/span&gt;&lt;span data-sentence-id="5f68fcfe6a" quote="false" data-paragraph-id="fe45daffa5"&gt; &lt;em&gt;Kendrick&lt;/em&gt;, 252 P.3d at 1063-64.&lt;/span&gt;&lt;span data-sentence-id="71a58d5d87" quote="false" data-paragraph-id="fe45daffa5"&gt; At this step, the trial court must determine as a matter of law whether the alleged information before the jury constitutes prejudicial extraneous information.&lt;/span&gt;&lt;span data-sentence-id="7c2b486bb9" quote="false" data-paragraph-id="fe45daffa5"&gt; &lt;em&gt;See Newman&lt;/em&gt;, ¶ 14, 471 P.3d at 1250.&lt;/span&gt;&lt;span data-sentence-id="82bffc993d" quote="false" data-paragraph-id="fe45daffa5"&gt; If the information does not constitute prejudicial extraneous information, the court may properly dismiss the motion for a new trial without a hearing.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;33&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="77b0cbf689"&gt;&lt;span data-sentence-id="48c9f3117a" quote="false" data-paragraph-id="77b0cbf689"&gt; ¶71 If the information does constitute extraneous prejudicial information, the court must determine at step two (often following a hearing) whether there is a reasonable possibility that the extraneous prejudicial information influenced the verdict to the detriment of the defendant.&lt;/span&gt;&lt;span data-sentence-id="aecb3c9e8d" quote="false" data-paragraph-id="77b0cbf689"&gt; &lt;em&gt;Kendrick&lt;/em&gt;, 252 P.3d at 1063.&lt;/span&gt;&lt;span data-sentence-id="4f25826aae" quote="false" data-paragraph-id="77b0cbf689"&gt; The test at the second step applies an objective standard—the relevant question is whether there is a reasonable possibility of such impact.&lt;/span&gt;&lt;span data-sentence-id="66fe0ebb47" quote="false" data-paragraph-id="77b0cbf689"&gt; &lt;em&gt;Harlan&lt;/em&gt;, 109 P.3d at 625.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="458c860ef4"&gt;&lt;span data-sentence-id="715a4d823a" quote="false" data-paragraph-id="458c860ef4"&gt; ¶72 During the second step, the court should consider those factors articulated in our prior cases: (1) how the extraneous information related to critical issues in the case; (2) the degree of authority represented by the extraneous information; (3) how the information was acquired; (4) whether the information was shared with other jurors in the jury room; (5) whether the information was considered before the jury reached its verdict; and (6) whether there is a reasonable possibility that the information would influence a typical juror to the defendant's detriment.&lt;/span&gt; &lt;em&gt;Id.&lt;/em&gt; at 630-31. &lt;/p&gt;
 &lt;p data-paragraph-id="555feef14a"&gt;&lt;span data-sentence-id="adde4257a4" quote="false" data-paragraph-id="555feef14a"&gt; ¶73 Clark argues that consideration of whether the extraneous information relates to an issue before the jury pertains only to the prejudice analysis at step two and has no bearing on whether the information is "extraneous" at step one.&lt;/span&gt; We disagree. &lt;/p&gt;
 &lt;p data-paragraph-id="c4812d5333"&gt;&lt;span data-sentence-id="447170739a" quote="false" data-paragraph-id="c4812d5333"&gt; ¶74 At step one, the court must determine whether the information qualifies as "extraneous prejudicial information."&lt;/span&gt;&lt;span data-sentence-id="d1ee742102" quote="false" data-paragraph-id="c4812d5333"&gt; This step requires the court to determine if &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;34&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="7f447d40d3"&gt;&lt;span data-sentence-id="9b22f0db61" quote="false" data-paragraph-id="7f447d40d3"&gt; the information was "prejudicial" (and not merely extraneous).&lt;/span&gt;&lt;span data-sentence-id="662d634851" quote="false" data-paragraph-id="7f447d40d3"&gt; By contrast, at step two, the inquiry is whether there is a reasonable possibility that the extraneous prejudicial information affected the jury's verdict to the detriment of the defendant.&lt;/span&gt;&lt;span data-sentence-id="b10d961f2e" quote="false" data-paragraph-id="7f447d40d3"&gt; While the determination of whether the information is prejudicial at step one overlaps with the determination of whether there is a reasonable possibility that the information prejudiced the defendant at step two, the burden on the defendant at each step is different.&lt;/span&gt;&lt;span data-sentence-id="4adb407f18" quote="false" data-paragraph-id="7f447d40d3"&gt; At step one, "the party seeking impeachment must produce competent evidence to attack the verdict," that is, evidence admissible under CRE 606(b) that calls into question the validity of the verdict.&lt;/span&gt;&lt;span data-sentence-id="01c076ee46" quote="false" data-paragraph-id="7f447d40d3"&gt; &lt;em&gt;People v. Garcia&lt;/em&gt;, &lt;a href="/vid/888515067" data-vids="888515067"&gt;752 P.2d 570&lt;/a&gt;, 583 (Colo. 1988).&lt;/span&gt;&lt;span data-sentence-id="90ee1ffa90" quote="false" data-paragraph-id="7f447d40d3"&gt; However, at step two, "the party must establish adequate grounds to overturn the verdict."&lt;/span&gt; &lt;em&gt;Id.&lt;/em&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="dac0ccd04f"&gt; &lt;strong&gt;3.&lt;span data-sentence-id="98fb5234c6" quote="false" data-paragraph-id="dac0ccd04f"&gt; What Constitutes Extraneous Prejudicial Information?&lt;/span&gt;&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="66f52eb9ea"&gt; ¶75"&lt;span data-sentence-id="1418681d0c" quote="true" data-paragraph-id="66f52eb9ea"&gt; [E]xtraneous prejudicial information consists of (1) 'legal content and specific factual information' (2) 'learned from outside the record' (3) that is 'relevant to the issues in a case.'"&lt;/span&gt;&lt;span data-sentence-id="524b277a93" quote="false" data-paragraph-id="66f52eb9ea"&gt; &lt;em&gt;Newman&lt;/em&gt;, ¶ 15, 471 P.3d at 1250 (quoting &lt;em&gt;Kendrick&lt;/em&gt;, 252 P.3d at 1064).&lt;/span&gt;&lt;span data-sentence-id="8c9b644fa5" quote="false" data-paragraph-id="66f52eb9ea"&gt; Like the division below, we find the thorough analysis of our case law provided in the court of appeals' opinion in &lt;em&gt;Newman&lt;/em&gt; helpful.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;35&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="9aa8f7f85c"&gt; &lt;strong&gt;a. Legal Content&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="df3a178ee0"&gt;&lt;span data-sentence-id="09fe3ac209" quote="false" data-paragraph-id="df3a178ee0"&gt; ¶76 Extraneous prejudicial information can take the form of legal content or factual information.&lt;/span&gt;&lt;span data-sentence-id="39dd926993" quote="false" data-paragraph-id="df3a178ee0"&gt; Clark argues that the statements at issue here introduced extraneous legal content.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="b845bce567"&gt;&lt;span data-sentence-id="806a8ff759" quote="false" data-paragraph-id="b845bce567"&gt; ¶77 In evaluating what constitutes "legal content," &lt;em&gt;Newman&lt;/em&gt; evaluated four of our decisions for guidance.&lt;/span&gt;&lt;span data-sentence-id="6dbdae15e9" quote="false" data-paragraph-id="b845bce567"&gt; First, in &lt;em&gt;Alvarez v. People&lt;/em&gt;, &lt;a href="/vid/888441067" data-vids="888441067"&gt;653 P.2d 1127&lt;/a&gt;, 1131 (Colo. 1982), this court held that it is improper for a juror to consult a dictionary definition of "reasonable" in order to "assist in understanding legal terminology in the court's instructions" on the reasonable doubt standard.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="3bff22b579"&gt;&lt;span data-sentence-id="c7032e3ef6" quote="false" data-paragraph-id="3bff22b579"&gt; ¶78 Similarly, in both &lt;em&gt;Niemand v. District Court&lt;/em&gt;, &lt;a href="/vid/888871330" data-vids="888871330"&gt;684 P.2d 931&lt;/a&gt;, 932 n.1 (Colo. 1984), and &lt;em&gt;Wiser v. People&lt;/em&gt;, &lt;a href="/vid/892748417" data-vids="892748417"&gt;732 P.2d 1139&lt;/a&gt;, 1141 (Colo. 1987), this court determined that a juror's consultation of a dictionary to assist in understanding of elements of a crime was improper.&lt;/span&gt;&lt;span data-sentence-id="ff49c02523" quote="false" data-paragraph-id="3bff22b579"&gt; In &lt;em&gt;Niemand&lt;/em&gt;, the juror consulted Black's Law Dictionary to review the definitions of terms relevant to the second degree murder and manslaughter charges the defendant faced, including "malice," "premeditation," and "second degree murder."&lt;/span&gt; 684 P.2d at 932.&lt;span data-sentence-id="28f45d53ef" quote="false" data-paragraph-id="3bff22b579"&gt; Similarly, in &lt;em&gt;Wiser&lt;/em&gt;, the juror looked up the definition of "burglary," one of the crimes with which the defendant was charged.&lt;/span&gt; 732 P.2d at 1140.&lt;span data-sentence-id="ef3db29a6e" quote="false" data-paragraph-id="3bff22b579"&gt; In both cases, we noted that "[j]urors are required to follow only the law as it is given in the court's instructions; they are bound, therefore, to accept the court's definitions of legal concepts and to obtain &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;36&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="329fae1ee9"&gt;&lt;span data-sentence-id="99c4f74f60" quote="false" data-paragraph-id="329fae1ee9"&gt; clarifications of any ambiguities in terminology from the trial judge, not from extraneous sources."&lt;/span&gt;&lt;span data-sentence-id="bc1158ef09" quote="false" data-paragraph-id="329fae1ee9"&gt; &lt;em&gt;Niemand&lt;/em&gt;, 684 P.2d at 934; &lt;em&gt;Wiser&lt;/em&gt;, 732 P.2d at 1141 (quoting &lt;em&gt;Niemand&lt;/em&gt;, 684 P.2d at 934).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d81e6c3910"&gt;&lt;span data-sentence-id="ec69b0a2e1" quote="false" data-paragraph-id="d81e6c3910"&gt; ¶79 Finally, in &lt;em&gt;Harlan&lt;/em&gt;, this court found that the Bible scripture improperly considered by the jury during the death penalty phase of the case could be viewed as an improper &lt;/span&gt;&lt;span data-sentence-id="b0cb7fb734" quote="true" data-paragraph-id="d81e6c3910"&gt;"legal instruction, issuing from God, requiring a particular and mandatory punishment for murder."&lt;/span&gt; 109 P.3d at 632. &lt;/p&gt;
 &lt;p data-paragraph-id="9ab88559e3"&gt;&lt;span data-sentence-id="401b1ea8c3" quote="false" data-paragraph-id="9ab88559e3"&gt; ¶80 As &lt;em&gt;Newman&lt;/em&gt; articulated, our prior decisions make clear that "legal content" means a statement of law.&lt;/span&gt;&lt;span data-sentence-id="00cab85cdb" quote="false" data-paragraph-id="9ab88559e3"&gt; ¶ 23, 471 P.3d at 1252.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="9a70d3f1f5"&gt;&lt;span data-sentence-id="190696e27d" quote="false" data-paragraph-id="9a70d3f1f5"&gt; &lt;strong&gt;b. Outside the Record&lt;/strong&gt; &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="370566ca97"&gt;&lt;span data-sentence-id="d45336b857" quote="false" data-paragraph-id="370566ca97"&gt; ¶81 "Extraneous" information is information gleaned from outside the record or information not included in the court's instructions to the jury.&lt;/span&gt;&lt;span data-sentence-id="9ce7a28d1d" quote="false" data-paragraph-id="370566ca97"&gt; Determining whether information was introduced from outside the record is straightforward when the juror conducts an independent investigation into either the facts or the law.&lt;/span&gt; &lt;em&gt;See id.&lt;span data-sentence-id="897c4189ba" quote="false" data-paragraph-id="370566ca97"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 32, 471 P.3d at 1253 (first citing &lt;em&gt;People v. Wadle&lt;/em&gt;, &lt;a href="/vid/892414049" data-vids="892414049"&gt;97 P.3d 932&lt;/a&gt;, 937 (Colo. 2004); and then citing &lt;em&gt;Wiser&lt;/em&gt;, 732 P.2d at 1140).&lt;span data-sentence-id="2efc8d0e96" quote="false" data-paragraph-id="370566ca97"&gt; The question becomes much more difficult, however, when a juror instead relies on their prior knowledge and experience.&lt;/span&gt;&lt;span data-sentence-id="59616ff243" quote="false" data-paragraph-id="370566ca97"&gt; &lt;em&gt;See Kendrick&lt;/em&gt;, 252 P.3d at 1066 ("The line between a juror's application of her background . . . to the record evidence and a juror's introduction of legal content or specific factual information learned from outside the record can be a fine one.")&lt;/span&gt;. &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;37&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="1cfb28efbb"&gt;&lt;span data-sentence-id="28d7c075e8" quote="false" data-paragraph-id="1cfb28efbb"&gt; Still, jurors may properly &lt;/span&gt;&lt;span data-sentence-id="ae427b23b2" quote="true" data-paragraph-id="1cfb28efbb"&gt;"rely on their professional and educational expertise to inform their deliberations so long as they do not bring in legal content or specific factual information learned from outside the record."&lt;/span&gt; &lt;em&gt;Id.&lt;/em&gt; at 1065. &lt;/p&gt;
 &lt;p data-paragraph-id="cc187418a7"&gt;&lt;span data-sentence-id="b3f363a231" quote="false" data-paragraph-id="cc187418a7"&gt; ¶82 In &lt;em&gt;Kendrick&lt;/em&gt;, we held that &lt;/span&gt;&lt;span data-sentence-id="c25844da97" quote="true" data-paragraph-id="cc187418a7"&gt;"the juror's use of her background in engineering and mathematics to calculate [the defendant]'s speed, distance, and reaction time and the sharing of those calculations with the other jurors did not constitute 'extraneous' information within the meaning of CRE 606(b)."&lt;/span&gt; &lt;em&gt;Id.&lt;/em&gt; at 1066.&lt;span data-sentence-id="65fe58f405" quote="false" data-paragraph-id="cc187418a7"&gt; We reasoned that, by performing and sharing those calculations, the juror &lt;/span&gt;&lt;span data-sentence-id="1c7afda4f9" quote="true" data-paragraph-id="cc187418a7"&gt;"did not introduce any specific facts or law relevant to the case learned from outside of the judicial proceeding but, rather, merely applied her professional experience and preexisting knowledge of mathematics to the evidence admitted at trial."&lt;/span&gt; &lt;em&gt;Id.&lt;/em&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="06475c5bcb"&gt;&lt;span data-sentence-id="51963b9bbb" quote="false" data-paragraph-id="06475c5bcb"&gt; ¶83 In sum, to be permissible, the experience used by the juror in deliberations must be part of the juror's background, &lt;/span&gt;&lt;span data-sentence-id="9773ba7f57" quote="true" data-paragraph-id="06475c5bcb"&gt;"gained before the juror was selected to participate in the case and not as the result of independent investigation into a matter relevant to the case"&lt;/span&gt;&lt;span data-sentence-id="3ac69abe57" quote="false" data-paragraph-id="06475c5bcb"&gt; and, though the information may be relevant to the matter at hand, it must not include &lt;/span&gt;&lt;span data-sentence-id="0ed7ed5b0f" quote="true" data-paragraph-id="06475c5bcb"&gt;"extra facts or law, not introduced at trial, that are specific to parties or an issue in the case."&lt;/span&gt; &lt;em&gt;Id.&lt;/em&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="382e292987"&gt;&lt;span data-sentence-id="ef1f20cec2" quote="false" data-paragraph-id="382e292987"&gt; ¶84 Because the line between past experience and extraneous information is a fine one, the admonition that we "err in favor of the lesser of two evils—protecting the secrecy of jury deliberations at the expense of possibly allowing irresponsible &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;38&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="eac905ad82"&gt; juror activity"—is important.&lt;span data-sentence-id="9fa4f24550" quote="true" data-paragraph-id="eac905ad82"&gt; &lt;em&gt;Garcia v. People&lt;/em&gt;, &lt;a href="/vid/889727479" data-vids="889727479"&gt;997 P.2d 1&lt;/a&gt;, 7 (Colo. 2000) (quoting &lt;em&gt;United States v. Thomas&lt;/em&gt;, &lt;a href="/vid/893104459" data-vids="893104459"&gt;116 F.3d 606&lt;/a&gt;, 623 (2d Cir.&lt;/span&gt; 1997)).&lt;span data-sentence-id="40be5a241a" quote="true" data-paragraph-id="eac905ad82"&gt; Permitting reliance on personal experience "&lt;/span&gt;&lt;span data-sentence-id="ceac85b48f" quote="false" data-paragraph-id="eac905ad82"&gt;furthers the purposes of CRE 606(b) by promoting the finality of verdicts and protecting jurors from harassment."&lt;/span&gt;&lt;span data-sentence-id="90a5b63162" quote="false" data-paragraph-id="eac905ad82"&gt; &lt;em&gt;Kendrick&lt;/em&gt;, 252 P.3d at 1065.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="9c42029aef"&gt; &lt;strong&gt;4.&lt;span data-sentence-id="e915be76b2" quote="false" data-paragraph-id="9c42029aef"&gt; The Unnamed Juror's Statement Did Not Constitute Extraneous Prejudicial Information&lt;/span&gt;&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="7a5bb71f51"&gt;&lt;span data-sentence-id="b154c9ebaa" quote="false" data-paragraph-id="7a5bb71f51"&gt; ¶85 Here, the unnamed juror's statement during deliberations that, during a prior jury service, the judge told the jury that it must deliberate until they come to a unanimous decision did not constitute extraneous prejudicial information.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="a5561fada9"&gt;&lt;span data-sentence-id="81843f501a" quote="false" data-paragraph-id="a5561fada9"&gt; ¶86 First, the juror's statement was not "legal content."&lt;/span&gt;&lt;span data-sentence-id="440e5dc7d9" quote="false" data-paragraph-id="a5561fada9"&gt; The retelling of a prior jury experience, even the specific recollection of a judge's alleged statement about jury deliberations, is not a "statement of law."&lt;/span&gt;&lt;span data-sentence-id="397d07a9fa" quote="false" data-paragraph-id="a5561fada9"&gt; Second, the fact that the juror's statement is based on prior experience and was not the result of independent investigation further compels us to find that the statement was not extraneous.&lt;/span&gt;&lt;span data-sentence-id="61f1338a39" quote="false" data-paragraph-id="a5561fada9"&gt; After all, "[a]s a practical matter, it is impossible to select a jury free of preconceived notions about the legal system or to prevent discussion of such information in the jury room."&lt;/span&gt;&lt;span data-sentence-id="ed462d12e2" quote="false" data-paragraph-id="a5561fada9"&gt; &lt;em&gt;People v. Holt&lt;/em&gt;, &lt;a href="/vid/895800772" data-vids="895800772"&gt;266 P.3d 442&lt;/a&gt;, 446 (Colo.App.&lt;/span&gt; 2011). &lt;/p&gt;
 &lt;p data-paragraph-id="207b7dc104"&gt;&lt;span data-sentence-id="38d458ee01" quote="false" data-paragraph-id="207b7dc104"&gt; ¶87 Third, even if we concluded that the juror's statement was extraneous legal content, unlike in &lt;em&gt;Niemand&lt;/em&gt; and &lt;em&gt;Wiser&lt;/em&gt;, it was not relevant to the jury's decision.&lt;/span&gt;&lt;span data-sentence-id="e395237058" quote="false" data-paragraph-id="207b7dc104"&gt; The statement did not concern any definition or element of the crimes with which &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;39&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="72e74af778"&gt;&lt;span data-sentence-id="b444068648" quote="false" data-paragraph-id="72e74af778"&gt; Clark had been charged.&lt;/span&gt;&lt;span data-sentence-id="21cfa45291" quote="false" data-paragraph-id="72e74af778"&gt; But even beyond that, the statement did not relate to any other matter the jury was charged with deciding.&lt;/span&gt;&lt;span data-sentence-id="d9151d5e4e" quote="false" data-paragraph-id="72e74af778"&gt; How long the jury was required to deliberate did not have anything to do with whether the prosecution had met its burden of proof.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="8aed4f67a0"&gt;&lt;span data-sentence-id="ca3b7cba1e" quote="false" data-paragraph-id="8aed4f67a0"&gt; ¶88 Therefore, the trial court correctly determined that the statement described in Juror LL's affidavit did not constitute "extraneous prejudicial information" under CRE 606(b).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="c35c5da334"&gt; &lt;strong&gt;III. Conclusion&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="e7be65f089"&gt;&lt;span data-sentence-id="eaeebcf2ae" quote="false" data-paragraph-id="e7be65f089"&gt; ¶89 We conclude that the erroneous denial of a for-cause challenge to a juror who evinces racial bias against the defendant is not structural error where the error was made in good faith and the biased juror did not actually participate in the jury.&lt;/span&gt;&lt;span data-sentence-id="0eff9e1788" quote="false" data-paragraph-id="e7be65f089"&gt; In addition, we conclude that a juror's statement during deliberations recalling a judge's alleged comment during her prior jury service was not extraneous prejudicial information under CRE 606(b).&lt;/span&gt;&lt;span data-sentence-id="572b5bb9c5" quote="false" data-paragraph-id="e7be65f089"&gt; Accordingly, we affirm the judgment of the court of appeals.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;40&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p id="Judge" data-paragraph-id="964a445a03"&gt;&lt;span data-sentence-id="1659a97822" quote="false" data-paragraph-id="964a445a03"&gt; JUSTICE HOOD, joined by JUSTICE GABRIEL, dissenting.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="7b2a761169"&gt;&lt;span data-sentence-id="a465cfa65d" quote="false" data-paragraph-id="7b2a761169"&gt; ¶90 This is a difficult and troubling case (at many levels) in which the division below and the majority here claim, in so many words, that obedience to doctrine forces us to swallow a bitter procedural pill.&lt;/span&gt;&lt;span data-sentence-id="36700dc46d" quote="false" data-paragraph-id="7b2a761169"&gt; Despite declaring that racial bias is detestable in any context, Maj. op.&lt;/span&gt;&lt;span data-sentence-id="0d8ea9a01f" quote="false" data-paragraph-id="7b2a761169"&gt; ¶ 1, the majority, no doubt reluctantly, leaves unremedied the district court's failure to denounce racial bias during jury selection.&lt;/span&gt;&lt;span data-sentence-id="387b383586" quote="false" data-paragraph-id="7b2a761169"&gt; Instead, it essentially says that we have little choice but to throw up our hands and concede, "no harm, no foul."&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="9aa2e96f07"&gt;&lt;span data-sentence-id="5780a6dd94" quote="false" data-paragraph-id="9aa2e96f07"&gt; ¶91 But the district court's error in excusing overt, in-court racism&lt;sup&gt;[&lt;a href="#ftn.FN5" name="FN5" id="FN5"&gt;1&lt;/a&gt;]&lt;/sup&gt; as nothing more than legitimate political opinion, produced at least two harms, both of which are difficult to quantify but unmistakably real.&lt;/span&gt;&lt;span data-sentence-id="4974c6772a" quote="false" data-paragraph-id="9aa2e96f07"&gt; First, a criminal defendant like Reginald Keith Clark—to whom our state and federal constitutions pledge rights to equal protection and a fair trial—suffered the risk that some remaining venire members were emboldened to act on similar but unvoiced biases.&lt;/span&gt;&lt;span data-sentence-id="30d2d6781d" quote="false" data-paragraph-id="9aa2e96f07"&gt; Second, and no less important, the whole unseemly exercise leaves our system of criminal justice diminished in the eyes of the public.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;41&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="fb1adbe1c3"&gt;&lt;span data-sentence-id="e2e9bf81d3" quote="false" data-paragraph-id="fb1adbe1c3"&gt; ¶92 Even so, the majority concludes that (1) &lt;em&gt;People v. Novotny&lt;/em&gt;, &lt;a href="/vid/888686298" data-vids="888686298"&gt;2014 CO 18&lt;/a&gt;, 320 P.3d 1194, contemplates only two kinds of structural error arising from an erroneous denial of a for-cause challenge (i.e., the explicitly biased juror sat or the court acted in bad faith), Maj. op.&lt;/span&gt;&lt;span data-sentence-id="4f76d6b0a3" quote="false" data-paragraph-id="fb1adbe1c3"&gt; ¶¶ 40-41; and (2) equal protection principles are relevant to our structural error analysis in this context only when the record reflects intentional discrimination by the court, &lt;em&gt;id.&lt;/em&gt;&lt;/span&gt; at ¶¶ 48-55.&lt;span data-sentence-id="22487fb2cc" quote="false" data-paragraph-id="fb1adbe1c3"&gt; But because I believe fidelity to precedent doesn't leave us powerless to address the harm inflicted here, I respectfully dissent.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="4c385a2d27"&gt;&lt;span data-sentence-id="8bf61f8a86" quote="false" data-paragraph-id="4c385a2d27"&gt; &lt;strong&gt;I. Structural Error&lt;/strong&gt; &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="9185caa0a3"&gt;&lt;span data-sentence-id="4272dc5aec" quote="false" data-paragraph-id="9185caa0a3"&gt; ¶93 Our basic legal yardstick is straightforward.&lt;/span&gt;&lt;span data-sentence-id="723fea3326" quote="false" data-paragraph-id="9185caa0a3"&gt; Structural errors "defy analysis by 'harmless-error' standards."&lt;/span&gt;&lt;span data-sentence-id="e48ba51245" quote="false" data-paragraph-id="9185caa0a3"&gt; &lt;em&gt;Arizona v. Fulminante&lt;/em&gt;, &lt;a href="/vid/884588654" data-vids="884588654"&gt;499 U.S. 279&lt;/a&gt;, 309 (1991).&lt;/span&gt;&lt;span data-sentence-id="08d897dcdf" quote="false" data-paragraph-id="9185caa0a3"&gt; There are "at least three broad rationales" for "[t]he precise reason why a particular error is not amenable to [harmless-error] analysis—and thus the precise reason why the Court has deemed it structural," &lt;em&gt;Weaver v. Massachusetts&lt;/em&gt;, 582 U.S. 286, 295 (2017): &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 [1] errors concerning rights protecting some interest other
 than the defendant's interest in not being erroneously
 convicted; [2] errors the effects of which are too hard to
 measure, in the sense of being necessarily unquantifiable and
 indeterminate; and [3] errors that can be said to always
 result in fundamental unfairness,
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="4d770af742"&gt;&lt;span data-sentence-id="28a8ef10a3" quote="false" data-paragraph-id="4d770af742"&gt; &lt;em&gt;Howard-Walker v. People&lt;/em&gt;, 2019 CO 69, ¶ 25, &lt;a href="/vid/888126579" data-vids="888126579"&gt;443 P.3d 1007&lt;/a&gt;, 1011 (quoting &lt;em&gt;James v. People&lt;/em&gt;, &lt;a href="/vid/890954897" data-vids="890954897"&gt;2018 CO 72&lt;/a&gt;, ¶ 15, 426 P.3d 336, 339).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;42&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="eb85b5a1e8"&gt;&lt;span data-sentence-id="807c096e4b" quote="false" data-paragraph-id="eb85b5a1e8"&gt; ¶94 Denying a party's for-cause challenge of a potential juror who expressed racial bias implicates the first two of these rationales.&lt;/span&gt;&lt;span data-sentence-id="f7d1ee290d" quote="false" data-paragraph-id="eb85b5a1e8"&gt; &lt;em&gt;See Weaver&lt;/em&gt;, 582 U.S. at 296 ("&lt;/span&gt;&lt;span data-sentence-id="9bf98d5204" quote="true" data-paragraph-id="eb85b5a1e8"&gt;[M]ore than one of these rationales may be part of the explanation for why an error is deemed to be structural."&lt;/span&gt;).&lt;span data-sentence-id="c200e005f0" quote="false" data-paragraph-id="eb85b5a1e8"&gt; As noted, this error harms the defendant albeit in ways hard to measure.&lt;/span&gt;&lt;span data-sentence-id="d13f39aa73" quote="false" data-paragraph-id="eb85b5a1e8"&gt; And the error implicates a public interest that extends beyond a defendant's interest in not being erroneously convicted.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="33ec4788e7"&gt; &lt;strong&gt;II. The Harm to Clark&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="0d79f03645"&gt;&lt;span data-sentence-id="b2aba58f9d" quote="false" data-paragraph-id="0d79f03645"&gt; ¶95 Let's start with the harm to Clark.&lt;/span&gt;&lt;span data-sentence-id="1742c256d2" quote="false" data-paragraph-id="0d79f03645"&gt; Over thirty years ago, the Supreme Court warned that the presence of racial discrimination during voir dire is &lt;/span&gt;&lt;span data-sentence-id="658aeae275" quote="true" data-paragraph-id="0d79f03645"&gt;"often apparent to the entire jury panel, [and] &lt;em&gt;casts doubt over the obligation&lt;/em&gt; of the parties, &lt;em&gt;the jury&lt;/em&gt;, and indeed the court to adhere to the law."&lt;/span&gt;&lt;span data-sentence-id="63052c8599" quote="false" data-paragraph-id="0d79f03645"&gt; &lt;em&gt;Powers v. Ohio&lt;/em&gt;, &lt;a href="/vid/888871362" data-vids="888871362"&gt;499 U.S. 400&lt;/a&gt;, 412 (1991) (emphases added).&lt;/span&gt;&lt;span data-sentence-id="305a8bd7e3" quote="false" data-paragraph-id="0d79f03645"&gt; By failing to release Juror K after he expressed racial bias, the court tacitly allowed the remaining venire members to cling to similar prejudices while deciding Clark's fate.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="19464fc7a4"&gt;&lt;span data-sentence-id="b40e52a25b" quote="false" data-paragraph-id="19464fc7a4"&gt; ¶96 As Judge Schutz explained in his separate opinion below: The district court's decision broadcasted to all who remained &lt;/span&gt;&lt;span data-sentence-id="077ffff7f2" quote="true" data-paragraph-id="19464fc7a4"&gt;"that a prospective juror could sit in judgment of a person against whom he had an acknowledged racial bias."&lt;/span&gt;&lt;span data-sentence-id="837631d5ee" quote="false" data-paragraph-id="19464fc7a4"&gt; &lt;em&gt;People v. Clark&lt;/em&gt;, &lt;a href="/vid/913395963" data-vids="913395963"&gt;2022 COA 33&lt;/a&gt;, ¶ 98, &lt;a href="/vid/913395963" data-vids="913395963"&gt;512 P.3d 1074&lt;/a&gt;, 1091 (Schutz, J., concurring in part and dissenting in part).&lt;/span&gt;&lt;span data-sentence-id="3f298c8fcd" quote="false" data-paragraph-id="19464fc7a4"&gt; The district court placed an aura of legitimacy around Juror K's racial bias by failing to condemn it, and in turn, introduced the risk that &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;43&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="84a6bfbdd7"&gt;&lt;span data-sentence-id="627110ab15" quote="false" data-paragraph-id="84a6bfbdd7"&gt; sitting jurors may have felt comfortable—or worse, empowered—to make judgments rooted in bias against the only "[B]lack gentleman" in the room—Clark.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="eb466d15aa"&gt;&lt;span data-sentence-id="ccf3d15a15" quote="false" data-paragraph-id="eb466d15aa"&gt; ¶97 The majority dismisses this reality by claiming that &lt;/span&gt;&lt;span data-sentence-id="282a7937f8" quote="true" data-paragraph-id="eb466d15aa"&gt;"there is no evidence that the jury was aware of the challenge, let alone the court's ruling or its reasoning."&lt;/span&gt; Maj. op. ¶ 59.&lt;span data-sentence-id="639c3b09c8" quote="false" data-paragraph-id="eb466d15aa"&gt; This argument suffers from a false premise: namely, that jurors lack the capacity to understand what is unfolding around them during our court proceedings.&lt;/span&gt;&lt;span data-sentence-id="3a7d74bbe4" quote="false" data-paragraph-id="eb466d15aa"&gt; In my experience, however, jurors aren't as naive as my colleagues in the majority suggest.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="8f47ea5fbe"&gt;&lt;span data-sentence-id="decc90acee" quote="false" data-paragraph-id="8f47ea5fbe"&gt; ¶98 On the contrary, there are at least three reasons why the prospective jurors here undoubtedly understood the district court to affirm Juror K's ability to serve despite his racial bias.&lt;/span&gt;&lt;span data-sentence-id="744863aae3" quote="false" data-paragraph-id="8f47ea5fbe"&gt; First, the court had already explained to prospective jurors the mechanics of the for-cause-dismissal stage of voir dire, so everyone knew that the court was determining whether prospective jurors were eligible to serve.&lt;/span&gt;&lt;span data-sentence-id="cc3060bd35" quote="false" data-paragraph-id="8f47ea5fbe"&gt; Second, the prospective jurors had witnessed the court remove a juror whose impartiality it had found wanting.&lt;/span&gt;&lt;span data-sentence-id="8f8ed37dca" quote="false" data-paragraph-id="8f47ea5fbe"&gt; And third, the district court asked Juror K follow-up questions—something it had only done when a prospective juror's answers gave it some pause—before confirming that Juror K could serve.&lt;/span&gt;&lt;span data-sentence-id="d94d5aaba4" quote="false" data-paragraph-id="8f47ea5fbe"&gt; It's of no moment that the court's justification was given out of earshot of the prospective jurors.&lt;/span&gt;&lt;span data-sentence-id="b42dc7b57e" quote="false" data-paragraph-id="8f47ea5fbe"&gt; The ruling itself was clear: Even after expressing racial bias, Juror K was fit to serve.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;44&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="8693303429"&gt;&lt;span data-sentence-id="fcb56b600c" quote="false" data-paragraph-id="8693303429"&gt; ¶99 The majority is equally wrong that &lt;/span&gt;&lt;span data-sentence-id="80349a8687" quote="true" data-paragraph-id="8693303429"&gt;"the only events the jurors witnessed were Juror K's comments during voir dire and Juror K's subsequent dismissal,"&lt;/span&gt;&lt;span data-sentence-id="cd4e271ce9" quote="false" data-paragraph-id="8693303429"&gt; which would've left them with the impression that "bias result[s] in dismissal."&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="3f7de5d8b7" quote="false" data-paragraph-id="8693303429"&gt;&lt;/span&gt;&lt;/em&gt; Again, jurors are sharper than that.&lt;span data-sentence-id="cfaf3c47f0" quote="false" data-paragraph-id="8693303429"&gt; The court explained that the peremptory-challenge phase of voir dire was distinct from the for-cause stage.&lt;/span&gt;&lt;span data-sentence-id="a08ba2a2c6" quote="false" data-paragraph-id="8693303429"&gt; The court also emphasized that peremptory challenges don't require a reason and were attributable to the attorneys—not the court—so prospective jurors shouldn't "take any offense" at removal.&lt;/span&gt;&lt;span data-sentence-id="819b136949" quote="false" data-paragraph-id="8693303429"&gt; The majority glosses over these facts, perhaps because they establish that no reasonable juror would have equated the defense's use of a peremptory strike with state condemnation of Juror K's racial bias.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="918681f5ea"&gt;&lt;span data-sentence-id="608469d094" quote="false" data-paragraph-id="918681f5ea"&gt; ¶100 The district court's error thus goes to the very foundation of our criminal justice system—the impartiality of the criminal jury, the body responsible for determining a defendant's innocence or guilt.&lt;/span&gt; &lt;span data-sentence-id="d1f8041c92" quote="true" data-paragraph-id="918681f5ea"&gt;"When constitutional error calls into question the objectivity of those charged with bringing a defendant to judgment, a reviewing court can neither indulge a presumption of regularity nor evaluate the resulting harm."&lt;/span&gt;&lt;span data-sentence-id="979224056f" quote="false" data-paragraph-id="918681f5ea"&gt; &lt;em&gt;Vasquez v. Hillery&lt;/em&gt;, &lt;a href="/vid/886196241" data-vids="886196241"&gt;474 U.S. 254&lt;/a&gt;, 263 (1986).&lt;/span&gt;&lt;span data-sentence-id="f377c41ff4" quote="false" data-paragraph-id="918681f5ea"&gt; Because these errors threaten the "right to an impartial adjudicator, be it judge or jury," they "'can never be treated as harmless.'"&lt;/span&gt;&lt;span data-sentence-id="ab22288c63" quote="false" data-paragraph-id="918681f5ea"&gt; &lt;em&gt;Gray v. Mississippi&lt;/em&gt;, &lt;a href="/vid/884671537" data-vids="884671537"&gt;481 U.S. 648&lt;/a&gt;, 668 (1987) (quoting &lt;em&gt;Chapman v. California&lt;/em&gt;, &lt;a href="/vid/892251810" data-vids="892251810"&gt;386 U.S. 18&lt;/a&gt;, 23 (1967)); &lt;em&gt;accord People v. Abu-Nantambu-El&lt;/em&gt;, 2019 CO 106, ¶ 27, &lt;a href="/vid/895611955" data-vids="895611955"&gt;454 P.3d 1044&lt;/a&gt;, 1050.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;45&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="664f63659a"&gt;&lt;span data-sentence-id="c29dbe75c2" quote="false" data-paragraph-id="664f63659a"&gt; ¶101 Here, any bias Juror K introduced into the proceeding during voir dire lingered in the background of the entire trial.&lt;/span&gt;&lt;span data-sentence-id="19fb68b636" quote="false" data-paragraph-id="664f63659a"&gt; &lt;em&gt;See Powers&lt;/em&gt;, 499 U.S. at 412 (&lt;/span&gt;&lt;span data-sentence-id="e138049a2e" quote="true" data-paragraph-id="664f63659a"&gt;"The influence of the &lt;em&gt;voir dire&lt;/em&gt; process may persist through the whole course of the trial proceedings."&lt;/span&gt;).&lt;span data-sentence-id="a395a211bd" quote="false" data-paragraph-id="664f63659a"&gt; To what effect, we don't know exactly.&lt;/span&gt;&lt;span data-sentence-id="8db6085bb9" quote="false" data-paragraph-id="664f63659a"&gt; But that doesn't mean we should ignore the possibility that the error tainted the remaining venire.&lt;/span&gt;&lt;span data-sentence-id="815b4a83a5" quote="false" data-paragraph-id="664f63659a"&gt; This difficulty is precisely why the error is structural: "the effects of the error are simply too hard to measure."&lt;/span&gt;&lt;span data-sentence-id="ea46e8a11b" quote="false" data-paragraph-id="664f63659a"&gt; &lt;em&gt;Weaver&lt;/em&gt;, 582 U.S. at 295.&lt;/span&gt; Indeed, it is &lt;span data-sentence-id="7747e9d55d" quote="true" data-paragraph-id="664f63659a"&gt;"because a review of the record could not reveal the impact of the defect"&lt;/span&gt;&lt;span data-sentence-id="6bc018f582" quote="false" data-paragraph-id="664f63659a"&gt; that the error is structural.&lt;/span&gt;&lt;span data-sentence-id="7bd3dbe128" quote="false" data-paragraph-id="664f63659a"&gt; &lt;em&gt;United States v. Iribe-Perez&lt;/em&gt;, &lt;a href="/vid/884784052" data-vids="884784052"&gt;129 F.3d 1167&lt;/a&gt;, 1172 (10th Cir.&lt;/span&gt;&lt;span data-sentence-id="2f27dba669" quote="false" data-paragraph-id="664f63659a"&gt; 1997); &lt;em&gt;see also Vasquez&lt;/em&gt;, 474 U.S. at 263-64 (concluding that discrimination in the grand jury selection was "not amenable to harmless-error review" because of &lt;/span&gt;&lt;span data-sentence-id="e832a653dc" quote="true" data-paragraph-id="664f63659a"&gt;"the difficulty of assessing [the] effect on any given defendant")&lt;/span&gt;. &lt;/p&gt;
 &lt;p data-paragraph-id="2a8e92d15d"&gt;&lt;span data-sentence-id="570c07934b" quote="false" data-paragraph-id="2a8e92d15d"&gt; ¶102 The district court's error in refusing to excuse Juror K when Clark challenged him for cause jeopardized Clark's right to a fair trial by giving judicial approval to Juror K's racial bias in front of the remaining venire members: "&lt;/span&gt;&lt;span data-sentence-id="198cae588f" quote="true" data-paragraph-id="2a8e92d15d"&gt;[A] defendant has the right to an impartial jury that can view him without racial animus, which so long has distorted our system of criminal justice."&lt;/span&gt;&lt;span data-sentence-id="28efb77e59" quote="false" data-paragraph-id="2a8e92d15d"&gt; &lt;em&gt;Georgia v. McCollum&lt;/em&gt;, &lt;a href="/vid/885010648" data-vids="885010648"&gt;505 U.S. 42&lt;/a&gt;, 58 (1992).&lt;/span&gt;&lt;span data-sentence-id="2ed546ad17" quote="false" data-paragraph-id="2a8e92d15d"&gt; Because that constitutional right is of paramount importance and because the effect of the district court's error evades an outcome determinative analysis, the district court's error was structural.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;46&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="aa2dcbfc06"&gt; &lt;strong&gt;III.&lt;span data-sentence-id="3561a9b710" quote="false" data-paragraph-id="aa2dcbfc06"&gt; The Harm to the Integrity of the Justice System&lt;/span&gt;&lt;/strong&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d8bb6bdb82"&gt;&lt;span data-sentence-id="be5fe40d16" quote="false" data-paragraph-id="d8bb6bdb82"&gt; ¶103 The error was also structural because it impugned the integrity of the justice system.&lt;/span&gt; Racial bias is &lt;span data-sentence-id="b6223f91d1" quote="true" data-paragraph-id="d8bb6bdb82"&gt;"a familiar and recurring evil that, if left unaddressed, would risk systemic injury to the administration of justice."&lt;/span&gt;&lt;span data-sentence-id="e792208c4e" quote="false" data-paragraph-id="d8bb6bdb82"&gt; &lt;em&gt;Pena-Rodriguez v. Colorado&lt;/em&gt;, 580 U.S. 206, 224 (2017).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="21c17541a7"&gt;&lt;span data-sentence-id="8a71c468df" quote="false" data-paragraph-id="21c17541a7"&gt; ¶104 I agree with Judge Schutz that what occurred during voir dire offends Clark's equal protection right to be free from state-approved racial discrimination.&lt;/span&gt;&lt;span data-sentence-id="7c8722ce60" quote="false" data-paragraph-id="21c17541a7"&gt; &lt;em&gt;See Clark&lt;/em&gt;, ¶¶ 93-96, 102, 512 P.3d at 1090-91, 1092 (Schutz, J., concurring in part and dissenting in part).&lt;/span&gt;&lt;span data-sentence-id="22e1c0ff25" quote="false" data-paragraph-id="21c17541a7"&gt; "By its inaction," the district court "made itself a party to" and "place[d] its power, property[,] and prestige behind" Juror K's racial bias.&lt;/span&gt;&lt;span data-sentence-id="2f4cce649f" quote="false" data-paragraph-id="21c17541a7"&gt; &lt;em&gt;Burton v. Wilmington Parking Auth.&lt;/em&gt;&lt;/span&gt;&lt;span data-sentence-id="9eaa178c31" quote="false" data-paragraph-id="21c17541a7"&gt;, &lt;a href="/vid/891658176" data-vids="891658176"&gt;365 U.S. 715&lt;/a&gt;, 725 (1961).&lt;/span&gt;&lt;span data-sentence-id="45d49180b8" quote="false" data-paragraph-id="21c17541a7"&gt; Time and again the Supreme Court has acknowledged that similar inaction "undermine[s] public confidence in the fairness of our system of justice."&lt;/span&gt;&lt;span data-sentence-id="4319a9148f" quote="false" data-paragraph-id="21c17541a7"&gt; &lt;em&gt;Rivera v. Illinois&lt;/em&gt;, &lt;a href="/vid/887473648" data-vids="887473648"&gt;556 U.S. 148&lt;/a&gt;, 161 (2009) (alteration in original) (quoting &lt;em&gt;Batson v. Kentucky&lt;/em&gt;, &lt;a href="/vid/885224377" data-vids="885224377"&gt;476 U.S. 79&lt;/a&gt;, 87 (1986)); &lt;em&gt;accord Pena-Rodriguez&lt;/em&gt;, 580 U.S. at 225; &lt;em&gt;McCollum&lt;/em&gt;, 505 U.S. at 49-50; &lt;em&gt;People v. Ojeda&lt;/em&gt;, &lt;a href="/vid/897016516" data-vids="897016516"&gt;2022 CO 7&lt;/a&gt;, ¶ 20, &lt;a href="/vid/907372681" data-vids="907372681"&gt;503 P.3d 856&lt;/a&gt;, 861-62.&lt;/span&gt;&lt;span data-sentence-id="89a78cd175" quote="false" data-paragraph-id="21c17541a7"&gt; For that reason, "[n]o surer way could be devised to bring the processes of justice into disrepute" than "to permit it to be &lt;em&gt;thought&lt;/em&gt; that persons entertaining a disqualifying prejudice were allowed to serve as jurors."&lt;/span&gt;&lt;span data-sentence-id="8eb5c3e1c6" quote="false" data-paragraph-id="21c17541a7"&gt; &lt;em&gt;Aldridge v. United States&lt;/em&gt;, &lt;a href="/vid/895362750" data-vids="895362750"&gt;283 U.S. 308&lt;/a&gt;, 315 (1931) (emphasis added).&lt;/span&gt;&lt;span data-sentence-id="8401ea29b2" quote="false" data-paragraph-id="21c17541a7"&gt; Yet that is the message the district court's error sends.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;47&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="7d46d59a90"&gt;&lt;span data-sentence-id="76985dec86" quote="false" data-paragraph-id="7d46d59a90"&gt; ¶105 This is an affront to basic equal protection principles and does great harm to the public's perception of the justice system.&lt;/span&gt;&lt;span data-sentence-id="27d00382b6" quote="false" data-paragraph-id="7d46d59a90"&gt; &lt;em&gt;See Mistretta v. United States&lt;/em&gt;, &lt;a href="/vid/884646644" data-vids="884646644"&gt;488 U.S. 361&lt;/a&gt;, 407 (1989) (&lt;/span&gt;&lt;span data-sentence-id="f27210de00" quote="true" data-paragraph-id="7d46d59a90"&gt;"The legitimacy of the Judicial Branch ultimately depends on its reputation for impartiality and nonpartisanship."&lt;/span&gt;)&lt;span data-sentence-id="cd3ad266e9" quote="false" data-paragraph-id="7d46d59a90"&gt;; &lt;em&gt;McCollum&lt;/em&gt;, 505 U.S. at 49-50 ("&lt;/span&gt;&lt;span data-sentence-id="e13acd2a31" quote="true" data-paragraph-id="7d46d59a90"&gt;[T]he very foundation of our system of justice [is] our citizens' confidence in it."&lt;/span&gt;). &lt;/p&gt;
 &lt;p data-paragraph-id="01256cc91b"&gt;&lt;span data-sentence-id="3b15448678" quote="false" data-paragraph-id="01256cc91b"&gt; ¶106 The majority concludes that the district court's error wasn't structural because the error wasn't constitutional.&lt;/span&gt; Maj. op. ¶ 58.&lt;span data-sentence-id="020e7de1e2" quote="false" data-paragraph-id="01256cc91b"&gt; To the contrary, the underlying error in this case violated Clark's Sixth Amendment right to an impartial jury.&lt;/span&gt; "&lt;span data-sentence-id="edd15e107a" quote="true" data-paragraph-id="01256cc91b"&gt;[I]f a trial court error results in the seating of a juror who is actually biased against the defendant, the defendant's right to an impartial jury is violated, the error is structural, and reversal is required&lt;em&gt;.&lt;/em&gt;&lt;/span&gt;"&lt;span data-sentence-id="403cebc938" quote="false" data-paragraph-id="01256cc91b"&gt; &lt;em&gt;Abu-Nantambu-El&lt;/em&gt;, ¶ 30, 454 P.3d at 1050.&lt;/span&gt;&lt;span data-sentence-id="882c021f8f" quote="false" data-paragraph-id="01256cc91b"&gt; There is no Sixth Amendment violation "so long as the jury that sits is impartial."&lt;/span&gt;&lt;span data-sentence-id="21141e9da4" quote="false" data-paragraph-id="01256cc91b"&gt; &lt;em&gt;United States v. Martinez-Salazar&lt;/em&gt;, &lt;a href="/vid/893108760" data-vids="893108760"&gt;528 U.S. 304&lt;/a&gt;, 305 (2000) (quoting &lt;em&gt;Ross v. Oklahoma&lt;/em&gt;, &lt;a href="/vid/886236692" data-vids="886236692"&gt;487 U.S. 81&lt;/a&gt;, 88 (1988)).&lt;/span&gt;&lt;span data-sentence-id="0eb82e73ad" quote="false" data-paragraph-id="01256cc91b"&gt; But I cannot say as much on these facts.&lt;/span&gt;&lt;span data-sentence-id="b70e7666be" quote="false" data-paragraph-id="01256cc91b"&gt; Here, the district court's error invited similarly biased jurors to sit on Clark's jury.&lt;/span&gt;&lt;span data-sentence-id="056e81b349" quote="false" data-paragraph-id="01256cc91b"&gt; Thus, even without a formal equal protection violation, the court is still confronted with a constitutional error.&lt;/span&gt;&lt;span data-sentence-id="3f7c4fb7aa" quote="false" data-paragraph-id="01256cc91b"&gt; And from there, the nub of the issue is simply whether the effects of that error "defy analysis by 'harmless-error' standards."&lt;/span&gt;&lt;span data-sentence-id="adc1779a21" quote="false" data-paragraph-id="01256cc91b"&gt; &lt;em&gt;Fulminante&lt;/em&gt;, 499 U.S. at 309.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;48&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="a76580cba7"&gt;&lt;span data-sentence-id="b74f3b3092" quote="false" data-paragraph-id="a76580cba7"&gt; ¶107 As discussed above, the error here fits that bill.&lt;/span&gt;&lt;span data-sentence-id="38f45d96a8" quote="false" data-paragraph-id="a76580cba7"&gt; The district court's error produced harms that (1) cannot be measured and thus defy an outcomedeterminative analysis and (2) concern interests other than the defendant's right to a sound verdict; namely, protection of the public's faith in the judiciary.&lt;/span&gt;&lt;span data-sentence-id="3f105d9d33" quote="false" data-paragraph-id="a76580cba7"&gt; Accordingly, the district court's error is structural and, in my opinion, entitles Clark to a new trial.&lt;/span&gt;&lt;span data-sentence-id="d7bd6d6d7e" quote="false" data-paragraph-id="a76580cba7"&gt; &lt;em&gt;See People v. Madrid&lt;/em&gt;, 2023 CO 12, ¶ 60, &lt;a href="/vid/935266659" data-vids="935266659"&gt;526 P.3d 185&lt;/a&gt;, 198.&lt;/span&gt;&lt;span data-sentence-id="e21944172e" quote="false" data-paragraph-id="a76580cba7"&gt; Thus, I respectfully dissent.&lt;/span&gt; &lt;/p&gt;
 &lt;small&gt;&lt;/small&gt;&lt;p data-paragraph-id="796feb9692"&gt; --------- &lt;/p&gt;
 &lt;p data-paragraph-id="ff6cb15c8b"&gt; Notes: &lt;/p&gt;
 &lt;p data-paragraph-id="0ec9a9fb83"&gt;&lt;span data-sentence-id="d8cc32482f" quote="false" data-paragraph-id="0ec9a9fb83"&gt; &lt;sup&gt;[&lt;a href="#FN1" name="ftn.FN1" id="ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt; As of the 2020 Census, 5,077—or about 87.41%—of Gilpin County's 5,808 residents were "[w]hite alone."&lt;/span&gt;&lt;span data-sentence-id="08e111ac6b" quote="false" data-paragraph-id="0ec9a9fb83"&gt; U.S. Census Bureau, &lt;em&gt;Race and Ethnicity: Gilpin County, Colorado&lt;/em&gt;, https://data.census.gov/profile/Gilpin_County,_Colorado?g=050XX00US08047#race-and-ethnicity [https:// perma.cc/XA8B-MRQU].&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="0fd79732d0"&gt;&lt;span data-sentence-id="647d9fe36c" quote="false" data-paragraph-id="0fd79732d0"&gt; &lt;sup&gt;[&lt;a href="#FN2" name="ftn.FN2" id="ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt; We granted certiorari to review the following issues: &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;blockquote&gt;
 1. [REFRAMED] Whether the trial court's erroneous
 denial of a defendant's for-cause challenge to a juror
 who expressed racial bias was harmless or structural
 error.
 &lt;/blockquote&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;blockquote&gt;
 2. Whether a juror's comments during
 deliberations, that she learned from a judge in prior jury
 service that jurors must deliberate indefinitely until a
 unanimous verdict is reached, constitute "extraneous
 prejudicial information" under CRE 606(b).
 &lt;/blockquote&gt;
 &lt;p data-paragraph-id="d25a430f76"&gt;&lt;span data-sentence-id="0be554a3af" quote="false" data-paragraph-id="d25a430f76"&gt; &lt;sup&gt;[&lt;a href="#FN3" name="ftn.FN3" id="ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt; Because the courtroom where voir dire was held was not equipped to record bench conferences, the record of the conversation the parties had with the judge during the bench conference was made by the judge after the fact.&lt;/span&gt;&lt;span data-sentence-id="d0a9dd75be" quote="false" data-paragraph-id="d25a430f76"&gt; After the parties had finished exercising their peremptory challenges, the bailiff took the jurors to the jury room and the judge summarized for the record the parties' for-cause challenges and the judge's rulings on them.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="295c48342b"&gt;&lt;span data-sentence-id="4bf595cdfe" quote="false" data-paragraph-id="295c48342b"&gt; &lt;sup&gt;[&lt;a href="#FN4" name="ftn.FN4" id="ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt; Because he would have reversed Clark's conviction based on his resolution of the challenge-for-cause issue, Judge Schutz declined to address the remaining issues.&lt;/span&gt; &lt;em&gt;Id.&lt;span data-sentence-id="dbbb3d9490" quote="false" data-paragraph-id="295c48342b"&gt;&lt;/span&gt;&lt;/em&gt; at ¶ 106, 512 P.3d at 1092 (Schutz, J., concurring in part and dissenting in part). &lt;/p&gt;
 &lt;p data-paragraph-id="21c15dcc93"&gt;&lt;span data-sentence-id="873fbc9d06" quote="false" data-paragraph-id="21c15dcc93"&gt; &lt;sup&gt;[&lt;a href="#FN5" name="ftn.FN5" id="ftn.FN5"&gt;1&lt;/a&gt;]&lt;/sup&gt; We agree with the division majority that there was a "glaring implication" that Juror K harbored an "acknowledged bias against nonwhite people like defendant."&lt;/span&gt;&lt;span data-sentence-id="7f4d5bb13e" quote="false" data-paragraph-id="21c15dcc93"&gt; &lt;em&gt;People v. Clark&lt;/em&gt;, &lt;a href="/vid/913395963" data-vids="913395963"&gt;2022 COA 33&lt;/a&gt;, ¶ 16, &lt;a href="/vid/913395963" data-vids="913395963"&gt;512 P.3d 1074&lt;/a&gt;, 1078.&lt;/span&gt;&lt;span data-sentence-id="2c5fdc9ff6" quote="false" data-paragraph-id="21c15dcc93"&gt; This inference now seems undisputed.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="796feb9692"&gt; --------- &lt;/p&gt;
 &lt;/div&gt;
    &lt;/div&gt;
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